Filed 04/22/19                                                              Case 19-22492                                                                   Doc 1

  Fill in this information to identify your case:

  United States Bankruptcy Court for the:

  EASTERN DISTRICT OF CALIFORNIA

  Case number (if known)                                                        Chapter you are filing under:

                                                                                   Chapter 7
                                                                                   Chapter 11
                                                                                   Chapter 12
                                                                                   Chapter 13                                        Check if this an
                                                                                                                                     amended filing




 Official Form 101
 Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                12/17
 The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
 case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
 would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
 between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
 all of the forms.

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
 more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
 every question.


  Part 1:   Identify Yourself

                                     About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

  1.   Your full name

       Write the name that is on     Chadwick                                                         Audra
       your government-issued        First name                                                       First name
       picture identification (for
       example, your driver's        Bowman                                                           Lee
       license or passport).         Middle name                                                      Middle name
       Bring your picture
       identification to your
                                     Wells                                                            Wells
       meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




  2.   All other names you have
       used in the last 8 years Chad Wells                                                            Audra Lee VanLandingham
       Include your married or
       maiden names.



  3.   Only the last 4 digits of
       your Social Security
       number or federal             xxx-xx-5289                                                      xxx-xx-2699
       Individual Taxpayer
       Identification number
       (ITIN)




 Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                              page 1
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  Debtor 1   Chadwick Bowman Wells
  Debtor 2   Audra Lee Wells                                                                            Case number (if known)




                                   About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

  4.   Any business names and
       Employer Identification
       Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
       used in the last 8 years

       Include trade names and     Business name(s)                                              Business name(s)
       doing business as names

                                   EINs                                                          EINs




  5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                   501 Elefa Street
                                   Roseville, CA 95678
                                   Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                   Placer
                                   County                                                        County

                                   If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                   above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                   notices to you at this mailing address.                       mailing address.



                                   Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




  6.   Why you are choosing        Check one:                                                    Check one:
       this district to file for
       bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                          I have lived in this district longer than in any               have lived in this district longer than in any other
                                          other district.                                                district.

                                          I have another reason.                                         I have another reason.
                                          Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




  Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
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  Debtor 1    Chadwick Bowman Wells
  Debtor 2    Audra Lee Wells                                                                               Case number (if known)



  Part 2:    Tell the Court About Your Bankruptcy Case

  7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
       Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       choosing to file under
                                   Chapter 7
                                       Chapter 11
                                       Chapter 12
                                       Chapter 13



  8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                           about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                           order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                           a pre-printed address.
                                           I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                           The Filing Fee in Installments (Official Form 103A).
                                           I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                           but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                           applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                           the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



  9.   Have you filed for             No.
       bankruptcy within the
       last 8 years?                  Yes.
                                                District                                  When                            Case number
                                                District                                  When                            Case number
                                                District                                  When                            Case number



  10. Are any bankruptcy              No
      cases pending or being
      filed by a spouse who is        Yes.
      not filing this case with
      you, or by a business
      partner, or by an
      affiliate?
                                                Debtor                                                                   Relationship to you
                                                District                                  When                           Case number, if known
                                                Debtor                                                                   Relationship to you
                                                District                                  When                           Case number, if known



  11. Do you rent your                No.        Go to line 12.
      residence?
                                      Yes.       Has your landlord obtained an eviction judgment against you?
                                                           No. Go to line 12.
                                                           Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                           this bankruptcy petition.




  Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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  Debtor 1    Chadwick Bowman Wells
  Debtor 2    Audra Lee Wells                                                                                Case number (if known)



  Part 3:    Report About Any Businesses You Own as a Sole Proprietor

  12. Are you a sole proprietor
      of any full- or part-time         No.      Go to Part 4.
      business?
                                        Yes.     Name and location of business
       A sole proprietorship is a
       business you operate as                   Name of business, if any
       an individual, and is not a
       separate legal entity such
       as a corporation,
       partnership, or LLC.
                                                 Number, Street, City, State & ZIP Code
       If you have more than one
       sole proprietorship, use a
       separate sheet and attach
       it to this petition.                      Check the appropriate box to describe your business:
                                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                         None of the above

  13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
      Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
      Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
      you a small business           in 11 U.S.C. 1116(1)(B).
      debtor?
                                        No.      I am not filing under Chapter 11.
       For a definition of small
       business debtor, see 11
                                        No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
       U.S.C. § 101(51D).
                                                 Code.

                                        Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


  Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

  14. Do you own or have any            No.
      property that poses or is
      alleged to pose a threat          Yes.
      of imminent and                          What is the hazard?
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs                      If immediate attention is
      immediate attention?                     needed, why is it needed?

       For example, do you own
       perishable goods, or
       livestock that must be fed,             Where is the property?
       or a building that needs
       urgent repairs?
                                                                             Number, Street, City, State & Zip Code




  Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
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  Debtor 1    Chadwick Bowman Wells
  Debtor 2    Audra Lee Wells                                                                            Case number (if known)

  Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                       About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
  15. Tell the court whether           You must check one:                                           You must check one:
      you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
      briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
      counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                           certificate of completion.                                    completion.
       The law requires that you
       receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
       credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
       you file for bankruptcy.
       You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
       one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
       choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
       so, you are not eligible to         a certificate of completion.                                  of completion.
       file.
                                           Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
       If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
       can dismiss your case, you          payment plan, if any.                                         any.
       will lose whatever filing fee
       you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
       creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
       collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                           days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                           circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                           of the requirement.
                                                                                                         To ask for a 30-day temporary waiver of the requirement,
                                           To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                           requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                           what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                           you were unable to obtain it before you filed for             circumstances required you to file this case.
                                           bankruptcy, and what exigent circumstances
                                           required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                         with your reasons for not receiving a briefing before you
                                           Your case may be dismissed if the court is                    filed for bankruptcy.
                                           dissatisfied with your reasons for not receiving a
                                           briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                           If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                           still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                           You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                           agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                           developed, if any. If you do not do so, your case
                                                                                                         Any extension of the 30-day deadline is granted only for
                                           may be dismissed.
                                                                                                         cause and is limited to a maximum of 15 days.
                                           Any extension of the 30-day deadline is granted
                                           only for cause and is limited to a maximum of 15
                                           days.
                                           I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                           credit counseling because of:                                 counseling because of:

                                                 Incapacity.                                                  Incapacity.
                                                 I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                                 that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                                 making rational decisions about finances.                    decisions about finances.

                                                 Disability.                                                  Disability.
                                                 My physical disability causes me to be                       My physical disability causes me to be unable to
                                                 unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                                 by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                                 reasonably tried to do so.                                   do so.

                                                 Active duty.                                                 Active duty.
                                                 I am currently on active military duty in a                  I am currently on active military duty in a military
                                                 military combat zone.                                        combat zone.
                                           If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                           briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                           motion for waiver credit counseling with the court.           of credit counseling with the court.




  Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
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  Debtor 1    Chadwick Bowman Wells
  Debtor 2    Audra Lee Wells                                                                               Case number (if known)

  Part 6:    Answer These Questions for Reporting Purposes

  16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
      you have?                              individual primarily for a personal, family, or household purpose.”

                                                 No. Go to line 16b.
                                                 Yes. Go to line 17.
                                   16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                             money for a business or investment or through the operation of the business or investment.
                                                 No. Go to line 16c.

                                                 Yes. Go to line 17.
                                   16c.      State the type of debts you owe that are not consumer debts or business debts



  17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
      Chapter 7?

       Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
       after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
       property is excluded and
       administrative expenses                   No
       are paid that funds will
       be available for                          Yes
       distribution to unsecured
       creditors?

  18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
      you estimate that you                                                            5001-10,000                                   50,001-100,000
      owe?                            50-99
                                      100-199                                          10,001-25,000                                 More than100,000
                                      200-999

  19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
      estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
      be worth?
                                      $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                      $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


  20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
      estimate your liabilities       $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
      to be?                                                                           $10,000,001 - $50 million
                                      $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                      $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


  Part 7:    Sign Below

  For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                   United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                   document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                   I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                   bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                   and 3571.
                                   /s/ Chadwick Bowman Wells                                         /s/ Audra Lee Wells
                                   Chadwick Bowman Wells                                             Audra Lee Wells
                                   Signature of Debtor 1                                             Signature of Debtor 2

                                   Executed on     April 22, 2019                                    Executed on     April 22, 2019
                                                   MM / DD / YYYY                                                    MM / DD / YYYY




  Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
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  Debtor 1   Chadwick Bowman Wells
  Debtor 2   Audra Lee Wells                                                                                Case number (if known)




  For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
  represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                  for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
  If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
  an attorney, you do not need    schedules filed with the petition is incorrect.
  to file this page.
                                  /s/ Barry H. Spitzer                                               Date         April 22, 2019
                                  Signature of Attorney for Debtor                                                MM / DD / YYYY

                                  Barry H. Spitzer
                                  Printed name

                                  Law Office of Barry H. Spitzer
                                  Firm name

                                  980 9th Street, Suite 380
                                  Sacramento, CA 95814
                                  Number, Street, City, State & ZIP Code

                                  Contact phone     916-442-9002                               Email address         barry@spitzerlaw.com
                                  161525 - CA CA
                                  Bar number & State




  Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
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                                                          Certificate Number: 17082-CAE-CC-032212301


                                                                         17082-CAE-CC-032212301




                               CERTIFICATE OF COUNSELING

           I CERTIFY that on January 27, 2019, at 1:09 o'clock PM MST, CHADWICK B
           WELLS received from Summit Financial Education, Inc., an agency approved
           pursuant to 11 U.S.C. § 111 to provide credit counseling in the Eastern District of
           California, an individual [or group] briefing that complied with the provisions of
           11 U.S.C. §§ 109(h) and 111.
           A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
           copy of the debt repayment plan is attached to this certificate.
           This counseling session was conducted by internet.




           Date:   January 27, 2019                       By:      /s/Denis L Escamilla De Garcia


                                                          Name: Denis L Escamilla De Garcia


                                                          Title:   Certified Credit Counselor




           * Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
           Code are required to file with the United States Bankruptcy Court a completed certificate of
           counseling from the nonprofit budget and credit counseling agency that provided the individual
           the counseling services and a copy of the debt repayment plan, if any, developed through the
           credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
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                                                          Certificate Number: 17082-CAE-CC-032212304


                                                                         17082-CAE-CC-032212304




                               CERTIFICATE OF COUNSELING

           I CERTIFY that on January 27, 2019, at 1:10 o'clock PM MST, AUDRA L
           WELLS received from Summit Financial Education, Inc., an agency approved
           pursuant to 11 U.S.C. § 111 to provide credit counseling in the Eastern District of
           California, an individual [or group] briefing that complied with the provisions of
           11 U.S.C. §§ 109(h) and 111.
           A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
           copy of the debt repayment plan is attached to this certificate.
           This counseling session was conducted by internet.




           Date:   January 27, 2019                       By:      /s/Denis L Escamilla De Garcia


                                                          Name: Denis L Escamilla De Garcia


                                                          Title:   Certified Credit Counselor




           * Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
           Code are required to file with the United States Bankruptcy Court a completed certificate of
           counseling from the nonprofit budget and credit counseling agency that provided the individual
           the counseling services and a copy of the debt repayment plan, if any, developed through the
           credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
Filed 04/22/19                                                                           Case 19-22492                                                                                            Doc 1
     Fill in this information to identify your case:

     Debtor 1                   Chadwick Bowman Wells
                                First Name                           Middle Name                          Last Name

     Debtor 2                   Audra Lee Wells
     (Spouse if, filing)        First Name                           Middle Name                          Last Name


     United States Bankruptcy Court for the:                  EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                      amended filing



    Official Form 106Sum
    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
    your original forms, you must fill out a new Summary and check the box at the top of this page.

     Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

     1.     Schedule A/B: Property (Official Form 106A/B)
            1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             416,000.00

            1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             143,791.00

            1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             559,791.00

     Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

     2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
            2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             601,200.00

     3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
            3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

            3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             514,680.00


                                                                                                                                         Your total liabilities $             1,115,880.00


     Part 3:        Summarize Your Income and Expenses

     4.     Schedule I: Your Income (Official Form 106I)
            Copy your combined monthly income from line 12 of Schedule I................................................................................             $                6,725.00

     5.     Schedule J: Your Expenses (Official Form 106J)
            Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                6,720.00

     Part 4:        Answer These Questions for Administrative and Statistical Records

     6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
                 No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

               Yes
     7.     What kind of debt do you have?

                    Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                    household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
     Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
Filed 04/22/19                                                             Case 19-22492                                                                  Doc 1
     Debtor 1      Chadwick Bowman Wells
     Debtor 2      Audra Lee Wells                                                            Case number (if known)

     8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
           122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $


     9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                             Total claim
           From Part 4 on Schedule E/F, copy the following:

           9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

           9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

           9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

           9d. Student loans. (Copy line 6f.)                                                                 $              0.00

           9e. Obligations arising out of a separation agreement or divorce that you did not report as
               priority claims. (Copy line 6g.)                                                               $              0.00

           9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


           9g. Total. Add lines 9a through 9f.                                                           $                 0.00




    Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information               page 2 of 2
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
Filed 04/22/19                                                                               Case 19-22492                                                                                 Doc 1
     Fill in this information to identify your case and this filing:

     Debtor 1                    Chadwick Bowman Wells
                                 First Name                                 Middle Name                    Last Name

     Debtor 2                    Audra Lee Wells
     (Spouse, if filing)         First Name                                 Middle Name                    Last Name


     United States Bankruptcy Court for the:                      EASTERN DISTRICT OF CALIFORNIA

     Case number                                                                                                                                                     Check if this is an
                                                                                                                                                                     amended filing



    Official Form 106A/B
    Schedule A/B: Property                                                                                                                                          12/15
    In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
    think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
    Answer every question.

     Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

    1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

            No. Go to Part 2.

            Yes. Where is the property?




     1.1                                                                            What is the property? Check all that apply
            501 Elefa Street                                                               Single-family home                         Do not deduct secured claims or exemptions. Put
            Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                           Duplex or multi-unit building
                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                                           Condominium or cooperative

                                                                                           Manufactured or mobile home
                                                                                                                                      Current value of the      Current value of the
            Roseville                         CA        95678-0000                         Land                                       entire property?          portion you own?
            City                              State              ZIP Code                  Investment property                               $416,000.00                $416,000.00
                                                                                           Timeshare
                                                                                                                                      Describe the nature of your ownership interest
                                                                                           Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                    Who has an interest in the property? Check one    a life estate), if known.
                                                                                           Debtor 1 only                              Fee simple
            Placer                                                                         Debtor 2 only
            County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                           Check if this is community property
                                                                                           At least one of the debtors and another         (see instructions)
                                                                                    Other information you wish to add about this item, such as local
                                                                                    property identification number:
                                                                                    1,974 sq ft and was built in 1929. It contains 3 bedrooms and 2 bathrooms


     2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
        pages you have attached for Part 1. Write that number here...........................................................................=>                      $416,000.00

     Part 2: Describe Your Vehicles

    Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
    someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




    Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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Filed 04/22/19                                                                        Case 19-22492                                                                                  Doc 1
     Debtor 1        Chadwick Bowman Wells
     Debtor 2        Audra Lee Wells                                                                                    Case number (if known)

    3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

            No
            Yes


      3.1    Make:       Jeep                                      Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                  the amount of any secured claims on Schedule D:
             Model:      Grand Cherokee                                  Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
             Year:       2014                                            Debtor 2 only
                                                                                                                                  Current value of the      Current value of the
             Approximate mileage:                   70000                Debtor 1 and Debtor 2 only                               entire property?          portion you own?
             Other information:                                          At least one of the debtors and another


                                                                         Check if this is community property                              $23,000.00                 $23,000.00
                                                                         (see instructions)



      3.2    Make:       Chevrolet                                 Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                  the amount of any secured claims on Schedule D:
             Model:      C10                                             Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
             Year:       1971                                            Debtor 2 only
                                                                                                                                  Current value of the      Current value of the
             Approximate mileage:                 300000                 Debtor 1 and Debtor 2 only                               entire property?          portion you own?
             Other information:                                          At least one of the debtors and another
             Non-operative and needs a new
             engine                                                      Check if this is community property                                $5,800.00                  $5,800.00
                                                                         (see instructions)



      3.3    Make:       Honda                                     Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                  the amount of any secured claims on Schedule D:
             Model:      CRF250X                                         Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
             Year:       2016                                            Debtor 2 only
                                                                                                                                  Current value of the      Current value of the
             Approximate mileage:                      260               Debtor 1 and Debtor 2 only                               entire property?          portion you own?
             Other information:                                          At least one of the debtors and another


                                                                         Check if this is community property                                $4,000.00                  $4,000.00
                                                                         (see instructions)



      3.4    Make:       Chrysler                                  Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                  the amount of any secured claims on Schedule D:
             Model:      200                                             Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
             Year:       2014                                            Debtor 2 only
                                                                                                                                  Current value of the      Current value of the
             Approximate mileage:                   68000                Debtor 1 and Debtor 2 only                               entire property?          portion you own?
             Other information:                                          At least one of the debtors and another
             Fair condition
                                                                         Check if this is community property                                $4,500.00                  $4,500.00
                                                                         (see instructions)




    4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

            No
            Yes



     5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
       .pages you have attached for Part 2. Write that number here.............................................................................=>                 $37,300.00


     Part 3: Describe Your Personal and Household Items
     Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured

    Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
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     Debtor 1       Chadwick Bowman Wells
     Debtor 2       Audra Lee Wells                                                                     Case number (if known)

                                                                                                                                       claims or exemptions.
    6. Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware
         No
            Yes. Describe.....

                                        Beds; dressers; night stands; lamps; sofa; chairs; washer; dryer;
                                        refrigerators; dining room table and chairs; kitchen wares; coffee
                                        and end tables; patio table; tools; BBQ and miscellaneous                                                    $3,000.00


                                        2 couches; 4 leather chairs; small portable bar; 2 wine barrels;
                                        large chalk board; 4 boxes dishware in self-storage                                                            $900.00


    7. Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                  including cell phones, cameras, media players, games
          No
            Yes. Describe.....

                                        Televisions; DVD player; stereo; entertainment center; video
                                        equipment; computer; cell phones                                                                             $1,200.00


    8. Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
                   other collections, memorabilia, collectibles
          No
            Yes. Describe.....

                                        Art work; DVDs and video games                                                                                 $350.00


    9. Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
                 musical instruments
         No
            Yes. Describe.....

                                        Bicycles and exercise equipment                                                                                $200.00


    10. Firearms
         Examples: Pistols, rifles, shotguns, ammunition, and related equipment
          No
            Yes. Describe.....

                                        Replica black powder 44                                                                                          $75.00


    11. Clothes
        Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
          No
            Yes. Describe.....

                                        Clothing                                                                                                       $750.00


    12. Jewelry
         Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
          No
            Yes. Describe.....

    Official Form 106A/B                                                 Schedule A/B: Property                                                            page 3
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     Debtor 1          Chadwick Bowman Wells
     Debtor 2          Audra Lee Wells                                                                                            Case number (if known)


                                                Wedding ring; opal ring; birthstone ring; pearl necklace and
                                                costume jewelry                                                                                                         $4,100.00


    13. Non-farm animals
        Examples: Dogs, cats, birds, horses
         No
            Yes. Describe.....

                                                Dog                                                                                                                       $500.00


    14. Any other personal and household items you did not already list, including any health aids you did not list
            No
            Yes. Give specific information.....


     15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
         for Part 3. Write that number here ..............................................................................                                        $11,075.00


     Part 4: Describe Your Financial Assets
     Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                           portion you own?
                                                                                                                                                           Do not deduct secured
                                                                                                                                                           claims or exemptions.

    16. Cash
        Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
            No
            Yes................................................................................................................

    17. Deposits of money
        Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                      institutions. If you have multiple accounts with the same institution, list each.
         No
         Yes........................                                     Institution name:

                                                              Checking and
                                                  17.1.       Savings                                 Wells Fargo Bank                                                  $9,836.00


    18. Bonds, mutual funds, or publicly traded stocks
        Examples: Bond funds, investment accounts with brokerage firms, money market accounts
            No
            Yes..................                           Institution or issuer name:

    19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
        joint venture
            No
            Yes. Give specific information about them...................
                                       Name of entity:                                                                             % of ownership:

    20. Government and corporate bonds and other negotiable and non-negotiable instruments
        Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
        Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
            No
            Yes. Give specific information about them
                                        Issuer name:

    21. Retirement or pension accounts
        Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
         No
           Yes. List each account separately.
    Official Form 106A/B                                                                       Schedule A/B: Property                                                         page 4
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     Debtor 1         Chadwick Bowman Wells
     Debtor 2         Audra Lee Wells                                                                             Case number (if known)

                                              Type of account:                  Institution name:

                                              401(k)                            Wood Rodgers 401(k) plan                                                 $60,000.00


                                              Roth IRA                          Northwestern Mutual Roth IRA                                               $2,000.00


    22. Security deposits and prepayments
        Your share of all unused deposits you have made so that you may continue service or use from a company
        Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
            No
            Yes. .....................                                          Institution name or individual:

    23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
            No
            Yes.............             Issuer name and description.

    24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
        26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
            No
            Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

    25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
            No
            Yes. Give specific information about them...

    26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
        Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
            No
            Yes. Give specific information about them...

    27. Licenses, franchises, and other general intangibles
         Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
            No
            Yes. Give specific information about them...

     Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                              portion you own?
                                                                                                                                              Do not deduct secured
                                                                                                                                              claims or exemptions.

    28. Tax refunds owed to you
            No
            Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



    29. Family support
         Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
            No
            Yes. Give specific information......


    30. Other amounts someone owes you
        Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
                  benefits; unpaid loans you made to someone else
            No
            Yes. Give specific information..

    31. Interests in insurance policies
         Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
          No
            Yes. Name the insurance company of each policy and list its value.
                                     Company name:                                                       Beneficiary:                          Surrender or refund
    Official Form 106A/B                                                   Schedule A/B: Property                                                                page 5
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     Debtor 1        Chadwick Bowman Wells
     Debtor 2        Audra Lee Wells                                                                                                 Case number (if known)

                                                                                                                                                                   value:

                                                 Northwestern Mutual

                                                 Whole Life
                                                 Audra - $16,025 CSV
                                                 Chad - $7,555 CSV                                                        Other spouse                                         $23,580.00


                                                 Term life insurance through
                                                 co-debtor's employer - no CSV                                            Debtor                                                       $0.00


    32. Any interest in property that is due you from someone who has died
        If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
        someone has died.
            No
            Yes. Give specific information..


    33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
        Examples: Accidents, employment disputes, insurance claims, or rights to sue
            No
            Yes. Describe each claim.........

    34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
            No
            Yes. Describe each claim.........

    35. Any financial assets you did not already list
            No
            Yes. Give specific information..


     36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
         for Part 4. Write that number here.....................................................................................................................            $95,416.00


     Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

    37. Do you own or have any legal or equitable interest in any business-related property?
           No. Go to Part 6.
           Yes. Go to line 38.



     Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
               If you own or have an interest in farmland, list it in Part 1.


    46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
               No. Go to Part 7.
               Yes. Go to line 47.


     Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


    53. Do you have other property of any kind you did not already list?
        Examples: Season tickets, country club membership
            No
            Yes. Give specific information.........


     54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                     $0.00




    Official Form 106A/B                                                           Schedule A/B: Property                                                                              page 6
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     Debtor 1         Chadwick Bowman Wells
     Debtor 2         Audra Lee Wells                                                                                                       Case number (if known)

     Part 8:         List the Totals of Each Part of this Form

     55. Part 1: Total real estate, line 2 ......................................................................................................................          $416,000.00
     56. Part 2: Total vehicles, line 5                                                                           $37,300.00
     57. Part 3: Total personal and household items, line 15                                                      $11,075.00
     58. Part 4: Total financial assets, line 36                                                                  $95,416.00
     59. Part 5: Total business-related property, line 45                                                              $0.00
     60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
     61. Part 7: Total other property not listed, line 54                                             +                $0.00

     62. Total personal property. Add lines 56 through 61...                                                    $143,791.00               Copy personal property total      $143,791.00

     63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $559,791.00




    Official Form 106A/B                                                               Schedule A/B: Property                                                                        page 7
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Filed 04/22/19                                                                  Case 19-22492                                                                              Doc 1
     Fill in this information to identify your case:

     Debtor 1                Chadwick Bowman Wells
                             First Name                         Middle Name                 Last Name

     Debtor 2                Audra Lee Wells
     (Spouse if, filing)     First Name                         Middle Name                 Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                               Check if this is an
                                                                                                                                              amended filing


    Official Form 106C
    Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
    the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
    needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
    case number (if known).

    For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
    specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
    any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
    funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
    exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
    to the applicable statutory amount.

     Part 1:        Identify the Property You Claim as Exempt

     1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

               You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

               You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

     2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
          Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
          Schedule A/B that lists this property                    portion you own
                                                                   Copy the value from    Check only one box for each exemption.
                                                                   Schedule A/B

          501 Elefa Street Roseville, CA 95678                           $416,000.00                                      $1.00    C.C.P. § 703.140(b)(1)
          Placer County
          1,974 sq ft and was built in 1929. It                                                100% of fair market value, up to
          contains 3 bedrooms and 2                                                            any applicable statutory limit
          bathrooms
          Line from Schedule A/B: 1.1

          2014 Jeep Grand Cherokee 70000                                  $23,000.00                                      $1.00    C.C.P. § 703.140(b)(2)
          miles
          Line from Schedule A/B: 3.1                                                          100% of fair market value, up to
                                                                                               any applicable statutory limit

          1971 Chevrolet C10 300000 miles                                  $5,800.00                                 $5,800.00     C.C.P. § 703.140(b)(2)
          Non-operative and needs a new
          engine                                                                               100% of fair market value, up to
          Line from Schedule A/B: 3.2                                                          any applicable statutory limit

          2014 Chrysler 200 68000 miles                                    $4,500.00                                      $1.00    C.C.P. § 703.140(b)(2)
          Fair condition
          Line from Schedule A/B: 3.4                                                          100% of fair market value, up to
                                                                                               any applicable statutory limit




    Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 3
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     Debtor 1    Chadwick Bowman Wells
     Debtor 2    Audra Lee Wells                                                                             Case number (if known)

         Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
         Schedule A/B that lists this property                     portion you own
                                                                   Copy the value from    Check only one box for each exemption.
                                                                   Schedule A/B

         Beds; dressers; night stands; lamps;                             $3,000.00                                  $3,000.00        C.C.P. § 703.140(b)(3)
         sofa; chairs; washer; dryer;
         refrigerators; dining room table and                                                  100% of fair market value, up to
         chairs; kitchen wares; coffee and                                                     any applicable statutory limit
         end tables; patio table; tools; BBQ
         and miscellaneous
         Line from Schedule A/B: 6.1

         2 couches; 4 leather chairs; small                                  $900.00                                   $900.00        C.C.P. § 703.140(b)(3)
         portable bar; 2 wine barrels; large
         chalk board; 4 boxes dishware in                                                      100% of fair market value, up to
         self-storage                                                                          any applicable statutory limit
         Line from Schedule A/B: 6.2

         Televisions; DVD player; stereo;                                 $1,200.00                                  $1,200.00        C.C.P. § 703.140(b)(3)
         entertainment center; video
         equipment; computer; cell phones                                                      100% of fair market value, up to
         Line from Schedule A/B: 7.1                                                           any applicable statutory limit

         Art work; DVDs and video games                                      $350.00                                   $350.00        C.C.P. § 703.140(b)(3)
         Line from Schedule A/B: 8.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

         Bicycles and exercise equipment                                     $200.00                                   $200.00        C.C.P. § 703.140(b)(3)
         Line from Schedule A/B: 9.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

         Replica black powder 44                                              $75.00                                    $75.00        C.C.P. § 703.140(b)(5)
         Line from Schedule A/B: 10.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

         Clothing                                                            $750.00                                   $750.00        C.C.P. § 703.140(b)(3)
         Line from Schedule A/B: 11.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

         Wedding ring; opal ring; birthstone                              $4,100.00                                  $1,750.00        C.C.P. § 703.140(b)(4)
         ring; pearl necklace and costume
         jewelry                                                                               100% of fair market value, up to
         Line from Schedule A/B: 12.1                                                          any applicable statutory limit

         Wedding ring; opal ring; birthstone                              $4,100.00                                  $2,350.00        C.C.P. § 703.140(b)(5)
         ring; pearl necklace and costume
         jewelry                                                                               100% of fair market value, up to
         Line from Schedule A/B: 12.1                                                          any applicable statutory limit

         Dog                                                                 $500.00                                   $500.00        C.C.P. § 703.140(b)(5)
         Line from Schedule A/B: 13.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

         Checking and Savings: Wells Fargo                                $9,836.00                                  $9,836.00        C.C.P. § 703.140(b)(5)
         Bank
         Line from Schedule A/B: 17.1                                                          100% of fair market value, up to
                                                                                               any applicable statutory limit


    Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 3
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Filed 04/22/19                                                                  Case 19-22492                                                                                Doc 1
     Debtor 1    Chadwick Bowman Wells
     Debtor 2    Audra Lee Wells                                                                             Case number (if known)

         Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
         Schedule A/B that lists this property                     portion you own
                                                                   Copy the value from    Check only one box for each exemption.
                                                                   Schedule A/B

         401(k): Wood Rodgers 401(k) plan                                $60,000.00                                $60,000.00         C.C.P. § 703.140(b)(10)(E)
         Line from Schedule A/B: 21.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

         Roth IRA: Northwestern Mutual Roth                               $2,000.00                                  $2,000.00        C.C.P. § 703.140(b)(10)(E)
         IRA
         Line from Schedule A/B: 21.2                                                          100% of fair market value, up to
                                                                                               any applicable statutory limit

         Northwestern Mutual                                             $23,580.00                                $15,650.00         C.C.P. § 703.140(b)(8)

         Whole Life                                                                            100% of fair market value, up to
         Audra - $16,025 CSV                                                                   any applicable statutory limit
         Chad - $7,555 CSV
         Beneficiary: Other spouse
         Line from Schedule A/B: 31.1

         Northwestern Mutual                                             $23,580.00                                  $7,930.00        C.C.P. § 703.140(b)(5)

         Whole Life                                                                            100% of fair market value, up to
         Audra - $16,025 CSV                                                                   any applicable statutory limit
         Chad - $7,555 CSV
         Beneficiary: Other spouse
         Line from Schedule A/B: 31.1


     3. Are you claiming a homestead exemption of more than $170,350?
        (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
                No
                Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                       No
                       Yes




    Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 3
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Filed 04/22/19                                                                    Case 19-22492                                                                                  Doc 1
     Fill in this information to identify your case:

     Debtor 1                   Chadwick Bowman Wells
                                First Name                      Middle Name                      Last Name

     Debtor 2                   Audra Lee Wells
     (Spouse if, filing)        First Name                      Middle Name                      Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                                       Check if this is an
                                                                                                                                                      amended filing

    Official Form 106D
    Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
    is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
    number (if known).
    1. Do any creditors have claims secured by your property?
               No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
               Yes. Fill in all of the information below.
     Part 1:        List All Secured Claims
                                                                                                                Column A               Column B                Column C
     2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
     for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
     much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                                value of collateral.   claim                   If any
     2.1     Honda Financial Services                 Describe the property that secures the claim:                   $4,200.00                $4,000.00              $200.00
             Creditor's Name                          2016 Honda CRF250X 260 miles

             PO Box 1844
                                                      As of the date you file, the claim is: Check all that
             Alpharetta, GA                           apply.
             30023-1844                                   Contingent
             Number, Street, City, State & Zip Code       Unliquidated
                                                          Disputed
     Who owes the debt? Check one.                    Nature of lien. Check all that apply.
         Debtor 1 only                                    An agreement you made (such as mortgage or secured
         Debtor 2 only                                     car loan)
           Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
         At least one of the debtors and another          Judgment lien from a lawsuit

           Check if this claim relates to a               Other (including a right to offset)
           community debt

     Date debt was incurred          2016                      Last 4 digits of account number        7707




    Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 4
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     Debtor 1 Chadwick Bowman Wells                                                                               Case number (if known)
                   First Name                  Middle Name                      Last Name
     Debtor 2 Audra Lee Wells
                   First Name                  Middle Name                      Last Name


     2.2     Mr. Cooper                                 Describe the property that secures the claim:                   $327,500.00        $416,000.00             $0.00
             Creditor's Name                            501 Elefa Street Roseville, CA 95678
                                                        Placer County
                                                        1,974 sq ft and was built in 1929. It
                                                        contains 3 bedrooms and 2
                                                        bathrooms
                                                        As of the date you file, the claim is: Check all that
             PO Box 619098                              apply.
             Dallas, TX 75261-9741                           Contingent
             Number, Street, City, State & Zip Code          Unliquidated
                                                             Disputed
     Who owes the debt? Check one.                      Nature of lien. Check all that apply.
        Debtor 1 only                                        An agreement you made (such as mortgage or secured
        Debtor 2 only                                         car loan)
           Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
        At least one of the debtors and another              Judgment lien from a lawsuit
           Check if this claim relates to a                  Other (including a right to offset)
           community debt

     Date debt was incurred          2004                        Last 4 digits of account number         7246

     2.3     NCB, FSB                                   Describe the property that secures the claim:                   $176,000.00        $416,000.00     $87,500.00
             Creditor's Name                            501 Elefa Street Roseville, CA 95678
                                                        Placer County
                                                        1,974 sq ft and was built in 1929. It
                                                        contains 3 bedrooms and 2
                                                        bathrooms
                                                        As of the date you file, the claim is: Check all that
             139 South High Street                      apply.
             Hillsboro, OH 45133                             Contingent
             Number, Street, City, State & Zip Code          Unliquidated
                                                             Disputed
     Who owes the debt? Check one.                      Nature of lien. Check all that apply.
        Debtor 1 only                                        An agreement you made (such as mortgage or secured
        Debtor 2 only                                         car loan)
           Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
        At least one of the debtors and another              Judgment lien from a lawsuit
           Check if this claim relates to a                  Other (including a right to offset)
           community debt

                                                                                                         Business
     Date debt was incurred          2005                        Last 4 digits of account number         related debt




    Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 4
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Filed 04/22/19                                                                       Case 19-22492                                                                         Doc 1

     Debtor 1 Chadwick Bowman Wells                                                                               Case number (if known)
                   First Name                  Middle Name                      Last Name
     Debtor 2 Audra Lee Wells
                   First Name                  Middle Name                      Last Name


     2.4     Richard Azevedo                            Describe the property that secures the claim:                    $64,000.00        $416,000.00     $64,000.00
             Creditor's Name                            501 Elefa Street Roseville, CA 95678
                                                        Placer County
             Michael and Maxine                         1,974 sq ft and was built in 1929. It
             Short                                      contains 3 bedrooms and 2
             11899 Edgewood Road,                       bathrooms
                                                        As of the date you file, the claim is: Check all that
             Suite B                                    apply.
             Auburn, CA 95603                                Contingent
             Number, Street, City, State & Zip Code          Unliquidated
                                                             Disputed
     Who owes the debt? Check one.                      Nature of lien. Check all that apply.
        Debtor 1 only                                        An agreement you made (such as mortgage or secured
        Debtor 2 only                                         car loan)
           Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
        At least one of the debtors and another              Judgment lien from a lawsuit
           Check if this claim relates to a                  Other (including a right to offset)
           community debt

                                                                                                         Business
     Date debt was incurred          2005                        Last 4 digits of account number         related debt

     2.5     Schools FCU                                Describe the property that secures the claim:                    $24,800.00         $23,000.00       $1,800.00
             Creditor's Name                            2014 Jeep Grand Cherokee 70000
                                                        miles
             PO Box 526001
                                                        As of the date you file, the claim is: Check all that
             Sacramento, CA                             apply.
             95852-6001                                      Contingent
             Number, Street, City, State & Zip Code          Unliquidated
                                                             Disputed
     Who owes the debt? Check one.                      Nature of lien. Check all that apply.
        Debtor 1 only                                        An agreement you made (such as mortgage or secured
        Debtor 2 only                                         car loan)
           Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
        At least one of the debtors and another              Judgment lien from a lawsuit
           Check if this claim relates to a                  Other (including a right to offset)
           community debt

     Date debt was incurred          2017                        Last 4 digits of account number         5582




    Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 3 of 4
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     Debtor 1 Chadwick Bowman Wells                                                                               Case number (if known)
                   First Name                  Middle Name                      Last Name
     Debtor 2 Audra Lee Wells
                   First Name                  Middle Name                      Last Name


     2.6     TD Auto Finance                            Describe the property that secures the claim:                      $4,700.00                  $4,500.00              $200.00
             Creditor's Name                            2014 Chrysler 200 68000 miles
                                                        Fair condition
             PO Box 9223
                                                        As of the date you file, the claim is: Check all that
             Farmington Hills, MI                       apply.
             48333-9223                                      Contingent
             Number, Street, City, State & Zip Code          Unliquidated
                                                             Disputed
     Who owes the debt? Check one.                      Nature of lien. Check all that apply.
        Debtor 1 only                                        An agreement you made (such as mortgage or secured
        Debtor 2 only                                         car loan)
           Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
        At least one of the debtors and another              Judgment lien from a lawsuit

           Check if this claim relates to a                  Other (including a right to offset)
           community debt

     Date debt was incurred          2014                        Last 4 digits of account number         8545


       Add the dollar value of your entries in Column A on this page. Write that number here:                                    $601,200.00
       If this is the last page of your form, add the dollar value totals from all pages.
       Write that number here:                                                                                                   $601,200.00

     Part 2:     List Others to Be Notified for a Debt That You Already Listed
     Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
     trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
     than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
     debts in Part 1, do not fill out or submit this page.

              Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.3
              US Small Business Administration
              Legal Division District Office                                                              Last 4 digits of account number
              6501 Sylvan Rd Ste 100
              Citrus Heights, CA 95610




    Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                    page 4 of 4
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     Fill in this information to identify your case:

     Debtor 1                     Chadwick Bowman Wells
                                  First Name                    Middle Name                        Last Name

     Debtor 2                     Audra Lee Wells
     (Spouse if, filing)          First Name                    Middle Name                        Last Name


     United States Bankruptcy Court for the:                EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                                              Check if this is an
                                                                                                                                                             amended filing

    Official Form 106E/F
    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
    Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
    any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
    Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
    Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
    left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
    name and case number (if known).
     Part 1:        List All of Your PRIORITY Unsecured Claims
     1.    Do any creditors have priority unsecured claims against you?
               No. Go to Part 2.

               Yes.
     2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
           identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
           possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
           Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
           (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                            Total claim           Priority           Nonpriority
                                                                                                                                                  amount             amount
                  California Department of Tax and
     2.1          Fee                                                    Last 4 digits of account number                                  $0.00              $0.00                 $0.00
                  Priority Creditor's Name
                  Account Information Group                              When was the debt incurred?
                  MIC:29
                  PO Box 942879
                  Sacramento, CA 94279
                  Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.                               Contingent
                  Debtor 1 only                                             Unliquidated
                  Debtor 2 only                                             Disputed
                  Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

                  At least one of the debtors and another                   Domestic support obligations

                  Check if this claim is for a community debt               Taxes and certain other debts you owe the government

            Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated

                  No                                                        Other. Specify
                  Yes                                                                        Tax - Notice only




    Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 1 of 19
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     Debtor 1 Chadwick Bowman Wells
     Debtor 2 Audra Lee Wells                                                                                  Case number (if known)

     2.2        Franchise Tax Board                                      Last 4 digits of account number                               $0.00                  $0.00                  $0.00
                Priority Creditor's Name
                Bankruptcy Unit                                          When was the debt incurred?
                P.O. Box 2952 - MS A-340
                Sacramento, CA 95812-2952
                Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.                               Contingent
                Debtor 1 only                                               Unliquidated
                Debtor 2 only                                               Disputed
                Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

                At least one of the debtors and another                     Domestic support obligations

                Check if this claim is for a community debt                 Taxes and certain other debts you owe the government

            Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated

                No                                                          Other. Specify
                Yes                                                                          Income tax - Notice only

     2.3        Internal Revenue Service                                 Last 4 digits of account number                               $0.00                  $0.00                  $0.00
                Priority Creditor's Name
                Centralized Insolvency                                   When was the debt incurred?
                Operations
                PO Box 7346
                Philadelphia, PA 19101-7346
                Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.                               Contingent
                Debtor 1 only                                               Unliquidated
                Debtor 2 only                                               Disputed
                Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

                At least one of the debtors and another                     Domestic support obligations

                Check if this claim is for a community debt                 Taxes and certain other debts you owe the government

            Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated

                No                                                          Other. Specify
                Yes                                                                          Income tax - Notice only

     Part 2:       List All of Your NONPRIORITY Unsecured Claims
     3.    Do any creditors have nonpriority unsecured claims against you?

              No. You have nothing to report in this part. Submit this form to the court with your other schedules.

              Yes.

     4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
           unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
           than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
           Part 2.
                                                                                                                                                                  Total claim




    Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 19
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     Debtor 1 Chadwick Bowman Wells
     Debtor 2 Audra Lee Wells                                                                                Case number (if known)

     4.1      ADP                                                        Last 4 digits of account number                                                        $1,200.00
              Nonpriority Creditor's Name
              4730 Myrtle Avenue, Suite A                                When was the debt incurred?           2017
              Sacramento, CA 95841
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Business debt


     4.2      ADP                                                        Last 4 digits of account number                                                           $500.00
              Nonpriority Creditor's Name
              80 Blue Ravine Road                                        When was the debt incurred?           2017
              Folsom, CA 95630
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Business debt


     4.3      All in One Pest Control                                    Last 4 digits of account number                                                           $135.00
              Nonpriority Creditor's Name
              730 Vernon Street                                          When was the debt incurred?           2017
              Roseville, CA 95678
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Business debt




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of 19
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     Debtor 1 Chadwick Bowman Wells
     Debtor 2 Audra Lee Wells                                                                                Case number (if known)

     4.4      Alsco                                                      Last 4 digits of account number                                                        $1,800.00
              Nonpriority Creditor's Name
              3391 Lanatt Street                                         When was the debt incurred?           2017
              Sacramento, CA 95819
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Business debt


     4.5      Ameripride Linen                                           Last 4 digits of account number                                                      $10,000.00
              Nonpriority Creditor's Name
              Turner Law Group                                           When was the debt incurred?           2017
              1104 Corporate Way
              Sacramento, CA 95831
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Business debt


     4.6      AT and T                                                   Last 4 digits of account number                                                           $850.00
              Nonpriority Creditor's Name
              Bankruptcy Department                                      When was the debt incurred?           2017
              4331 Communications Drive
              Flr 4W
              Dallas, TX 75211
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Business debt - DirecTV




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 4 of 19
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     Debtor 1 Chadwick Bowman Wells
     Debtor 2 Audra Lee Wells                                                                                Case number (if known)

              Bank of America Corporate
     4.7      Account                                                    Last 4 digits of account number       9141                                             $3,000.00
              Nonpriority Creditor's Name
              100 North Tryon Street                                     When was the debt incurred?           2017
              Charlotte, NC 28255
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Business debt


     4.8      Bay Area Credit Service LLC                                Last 4 digits of account number       2xxx                                                $100.00
              Nonpriority Creditor's Name
              4145 Shackleford Road, Suite 330B                          When was the debt incurred?           2018
              Norcross, GA 30093
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Collection for American Medical Response


     4.9      Berkshire Hathaway GUARD                                   Last 4 digits of account number                                                      $40,000.00
              Nonpriority Creditor's Name
              P.O. Box 785570                                            When was the debt incurred?
              Philadelphia, PA 19178-5570
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Business debt




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 5 of 19
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     Debtor 1 Chadwick Bowman Wells
     Debtor 2 Audra Lee Wells                                                                                Case number (if known)

     4.1
     0        Berryessa Brewing                                          Last 4 digits of account number                                                           $500.00
              Nonpriority Creditor's Name
              27260 CA-128                                               When was the debt incurred?           2017
              Winters, CA 95694
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Business debt


     4.1
     1        Best Buy                                                   Last 4 digits of account number       5820                                             $3,900.00
              Nonpriority Creditor's Name
              PO Box 790441                                              When was the debt incurred?
              Saint Louis, MO 63179
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit card purchases


     4.1
     2        Capital One                                                Last 4 digits of account number       xxxx                                           $11,000.00
              Nonpriority Creditor's Name
              PO Box 30285                                               When was the debt incurred?           2018
              Salt Lake City, UT 84130-0285
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Credit card purchases
                                                                                             also - 486236995004xxxx;
                  Yes                                                       Other. Specify   Magnolia credit card 704513091540xxxx




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     Debtor 1 Chadwick Bowman Wells
     Debtor 2 Audra Lee Wells                                                                                Case number (if known)

     4.1
     3        Capitol Pacific                                            Last 4 digits of account number                                                      $80,000.00
              Nonpriority Creditor's Name
              Quarry Ponds LLC                                           When was the debt incurred?           2017
              7110 Douglas Blvd.
              Granite Bay, CA 95746
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Business debt - former landlord


     4.1
     4        Cohen Durrett                                              Last 4 digits of account number       9598                                           $13,000.00
              Nonpriority Creditor's Name
              2100 Northrop Avenue, Suite 900                            When was the debt incurred?           2018
              Sacramento, CA 95825
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Business debt - legal services


     4.1
     5        Consolidated Communications                                Last 4 digits of account number                                                        $1,000.00
              Nonpriority Creditor's Name
              211 Lincoln Street                                         When was the debt incurred?           2017
              Roseville, CA 95678
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Business debt




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     Debtor 1 Chadwick Bowman Wells
     Debtor 2 Audra Lee Wells                                                                                Case number (if known)

     4.1
     6        Crooked Lane Brewing                                       Last 4 digits of account number                                                           $500.00
              Nonpriority Creditor's Name
              536 Grass Valley Hwy                                       When was the debt incurred?           2017
              Auburn, CA 95603
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Business debt


     4.1
     7        D and P                                                    Last 4 digits of account number                                                        $1,500.00
              Nonpriority Creditor's Name
              7 Taylor Street                                            When was the debt incurred?           2017
              Roseville, CA 95678
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Business debt


     4.1
     8        DBI                                                        Last 4 digits of account number                                                        $2,400.00
              Nonpriority Creditor's Name
              3500 Carlin Drive                                          When was the debt incurred?           2017
              West Sacramento, CA 95691
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Business debt




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     Debtor 1 Chadwick Bowman Wells
     Debtor 2 Audra Lee Wells                                                                                Case number (if known)

     4.1
     9        DCR                                                        Last 4 digits of account number                                                           $250.00
              Nonpriority Creditor's Name
              4322 Orange Grove Avenue                                   When was the debt incurred?           2017
              Sacramento, CA 95841
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Business debt


     4.2
     0        Douglas B. Provencher, Esq.                                Last 4 digits of account number       5686                                           $12,500.00
              Nonpriority Creditor's Name
              Provencher and Flatt LLP                                   When was the debt incurred?           2017
              823 Sonoma Avenue
              Santa Rosa, CA 95404
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Business debt - Collectronics v Vanwells,
                                                                                             Inc., et al.

                  Yes                                                       Other. Specify   Young's Market


     4.2
     1        EnviroMasters Inc                                          Last 4 digits of account number                                                        $1,200.00
              Nonpriority Creditor's Name
              2790 US-27                                                 When was the debt incurred?           2017
              Carrollton, GA 30117
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Business debt




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     4.2
     2        Fort Rock Brewing                                          Last 4 digits of account number                                                           $500.00
              Nonpriority Creditor's Name
              12401 Folsom Blvd., Suite 110                              When was the debt incurred?           2017
              Rancho Cordova, CA 95742
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Business debt


     4.2
     3        Green Air Supply                                           Last 4 digits of account number                                                        $1,000.00
              Nonpriority Creditor's Name
              216 Puyallup Avenue                                        When was the debt incurred?           2017
              Unit S-111
              Tacoma, WA 98421
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Business debt


     4.2
     4        Hemar Rousso and Heald, LLP                                Last 4 digits of account number       1834                                           $60,000.00
              Nonpriority Creditor's Name
              15910 Ventura Blvd., 12th Floor                            When was the debt incurred?           2017
              Encino, CA 91436
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Business debt - Ascentium Capital LLC v.
                  Yes                                                       Other. Specify   Vanwells, Inc., et al.




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     4.2      Honda Financial
     5        Services/Synergetic                                        Last 4 digits of account number       1070                                             $7,250.00
              Nonpriority Creditor's Name
              1220 Old Alpharetta Road, Suite 350                        When was the debt incurred?           2016
              Alpharetta, GA 30005
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Balance due on reposessed dirt bike


     4.2
     6        Kohl's Department Store                                    Last 4 digits of account number       xxxx                                                $700.00
              Nonpriority Creditor's Name
              PO Box 3043                                                When was the debt incurred?           2018
              Milwaukee, WI 53201-3043
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit card purchases


     4.2
     7        Liberty Mutual Insurance                                   Last 4 digits of account number                                                           $500.00
              Nonpriority Creditor's Name
              Cain and Weiner                                            When was the debt incurred?           2017
              1699 E. Woodfield Road, Suite 360
              Schaumburg, IL 60173
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Business debt




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     Debtor 2 Audra Lee Wells                                                                                Case number (if known)

     4.2
     8        Macy's                                                     Last 4 digits of account number       xxxx                                             $2,800.00
              Nonpriority Creditor's Name
              PO Box 8053                                                When was the debt incurred?           2018
              Mason, OH 45040
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit card purchases


     4.2
     9        Magnolia/CBNA                                              Last 4 digits of account number       xxxx                                             $3,900.00
              Nonpriority Creditor's Name
              PO Box 6497                                                When was the debt incurred?           2018
              Sioux Falls, SD 57117
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit card purchases


     4.3
     0        Markstein Beverage                                         Last 4 digits of account number                                                        $2,200.00
              Nonpriority Creditor's Name
              Northern California Collection                             When was the debt incurred?           2017
              Service
              700 Leisure Lane
              Sacramento, CA 95815
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Business debt




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     4.3
     1        Mussetter Distributors                                     Last 4 digits of account number                                                        $1,500.00
              Nonpriority Creditor's Name
              12979 Earhart Avenue                                       When was the debt incurred?           2017
              Auburn, CA 95602
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Business debt


     4.3
     2        On Deck                                                    Last 4 digits of account number                                                      $80,500.00
              Nonpriority Creditor's Name
              1400 Broadway                                              When was the debt incurred?           2017
              New York, NY 10018
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Business debt


     4.3
     3        Pacific Gas and Electric                                   Last 4 digits of account number                                                      $14,000.00
              Nonpriority Creditor's Name
              Bankruptcy Unit                                            When was the debt incurred?           2017
              PO Box 8329
              Stockton, CA 95208
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Business debt




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     4.3
     4        Pacific Seafood                                            Last 4 digits of account number                                                        $1,300.00
              Nonpriority Creditor's Name
              Cash Flow Management                                       When was the debt incurred?           2017
              PO Box 42407
              5530 S.E. Center Street
              Portland, OR 97242
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Business debt


     4.3
     5        Paul Black                                                 Last 4 digits of account number                                                           $800.00
              Nonpriority Creditor's Name
              PO Box 1482                                                When was the debt incurred?           2017
              Rocklin, CA 95677
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Business debt


     4.3
     6        Produce Express                                            Last 4 digits of account number                                                        $4,500.00
              Nonpriority Creditor's Name
              8340 Belvedere Avenue                                      When was the debt incurred?           2017
              Sacramento, CA 95826
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Business debt




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     Debtor 2 Audra Lee Wells                                                                                Case number (if known)

     4.3
     7        Rapid Advance                                              Last 4 digits of account number                                                      $60,000.00
              Nonpriority Creditor's Name
              4500 East West Highway, 6th Floor                          When was the debt incurred?           2017
              Bethesda, MD 20814
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Business debt


     4.3
     8        Saccani Distributiing                                      Last 4 digits of account number                                                           $600.00
              Nonpriority Creditor's Name
              2600 5th Street                                            When was the debt incurred?           2017
              Sacramento, CA 95818
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Business debt


     4.3
     9        Schools FCU                                                Last 4 digits of account number       xxxx                                             $4,720.00
              Nonpriority Creditor's Name
              PO Box 526001                                              When was the debt incurred?           2016
              Sacramento, CA 95852-6001
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Balance due on reposessed vehicle




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 15 of 19
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Filed 04/22/19                                                                    Case 19-22492                                                                               Doc 1
     Debtor 1 Chadwick Bowman Wells
     Debtor 2 Audra Lee Wells                                                                                Case number (if known)

     4.4
     0        Seatninja                                                  Last 4 digits of account number                                                            $75.00
              Nonpriority Creditor's Name
              600 Gianni Court                                           When was the debt incurred?           2017
              Roseville, CA 95661
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Business debt


     4.4
     1        Sound Pro's                                                Last 4 digits of account number                                                           $200.00
              Nonpriority Creditor's Name
              PO Box 323                                                 When was the debt incurred?           2017
              Loomis, CA 95650-0323
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Business debt


     4.4
     2        Southern Wine and Spirits                                  Last 4 digits of account number                                                        $2,200.00
              Nonpriority Creditor's Name
              1301 N. Market Blvd.                                       When was the debt incurred?           2017
              Sacramento, CA 95834
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Business debt




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 16 of 19
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Filed 04/22/19                                                                    Case 19-22492                                                                               Doc 1
     Debtor 1 Chadwick Bowman Wells
     Debtor 2 Audra Lee Wells                                                                                Case number (if known)

     4.4
     3        Synchrony Bank                                             Last 4 digits of account number                                                        $7,900.00
              Nonpriority Creditor's Name
              Attn: Bankruptcy Dept.                                     When was the debt incurred?           2017
              PO Box 965060
              Orlando, FL 32896-5060
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit card purchases - Lowes


     4.4
     4        Terriell Outsource Group                                   Last 4 digits of account number                                                      $20,000.00
              Nonpriority Creditor's Name
              9381 E. Stockton Blvd., #116                               When was the debt incurred?           2017
              Elk Grove, CA 95624
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Business debt


     4.4
     5        US Foods                                                   Last 4 digits of account number                                                      $42,000.00
              Nonpriority Creditor's Name
              AGA                                                        When was the debt incurred?           2017
              740 Walt Whitman Road
              Melville, NY 11747
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Business debt




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 17 of 19
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Filed 04/22/19                                                                    Case 19-22492                                                                                       Doc 1
     Debtor 1 Chadwick Bowman Wells
     Debtor 2 Audra Lee Wells                                                                                Case number (if known)

     4.4
     6         Wolkin Law Group                                          Last 4 digits of account number                                                              $10,000.00
               Nonpriority Creditor's Name
               235 W. Giaconda Way, Suite 217                            When was the debt incurred?           2017
               Tucson, AZ 85704
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                   Check if this claim is for a community                   Student loans
               debt                                                         Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Business debt


     4.4
     7         Zee Medical                                               Last 4 digits of account number                                                                   $200.00
               Nonpriority Creditor's Name
               10449 Old Placerville Road                                When was the debt incurred?           2017
               Sacramento, CA 95827
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                   Check if this claim is for a community                   Student loans
               debt                                                         Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Business debt

     Part 3:      List Others to Be Notified About a Debt That You Already Listed
    5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
       is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
       have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
       notified for any debts in Parts 1 or 2, do not fill out or submit this page.
     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     Ascentium Capital LLC                                         Line 4.24 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
     23970 Highway 59 North                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
     Kingwood, TX 77339-1535
                                                                   Last 4 digits of account number

     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     CACH LLC                                                      Line 4.32 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
     PO Box 1269                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
     Greenville, SC 29603
                                                                   Last 4 digits of account number

     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     CIR Law Offices International                                 Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
     2650 Camino Del Rio North, Suite                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
     308
     San Diego, CA 92108
                                                                   Last 4 digits of account number

     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     Radius Global Solutions LLC                                   Line 4.11 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims

    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 18 of 19
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Filed 04/22/19                                                                   Case 19-22492                                                                                       Doc 1
     Debtor 1 Chadwick Bowman Wells
     Debtor 2 Audra Lee Wells                                                                               Case number (if known)

     PO Box 390905                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
     Mail Code CBBK2
     Minneapolis, MN 55439
                                                                   Last 4 digits of account number


     Part 4:      Add the Amounts for Each Type of Unsecured Claim
    6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
       type of unsecured claim.

                                                                                                                                 Total Claim
                            6a.   Domestic support obligations                                                6a.      $                           0.00
            Total
          claims
      from Part 1           6b.   Taxes and certain other debts you owe the government                        6b.      $                           0.00
                            6c.   Claims for death or personal injury while you were intoxicated              6c.      $                           0.00
                            6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.      $                           0.00

                            6e.   Total Priority. Add lines 6a through 6d.                                    6e.      $                           0.00

                                                                                                                                 Total Claim
                            6f.   Student loans                                                               6f.      $                           0.00
            Total
          claims
      from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                                  you did not report as priority claims                                       6g.      $                           0.00
                            6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.      $                           0.00
                            6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                                  here.                                                                                $                  514,680.00

                            6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.      $                  514,680.00




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 19 of 19
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Filed 04/22/19                                                                       Case 19-22492                                                                      Doc 1
     Fill in this information to identify your case:

     Debtor 1                  Chadwick Bowman Wells
                               First Name                         Middle Name              Last Name

     Debtor 2                  Audra Lee Wells
     (Spouse if, filing)       First Name                         Middle Name              Last Name


     United States Bankruptcy Court for the:               EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing



    Official Form 106G
    Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
    additional pages, write your name and case number (if known).

    1.      Do you have any executory contracts or unexpired leases?
                  No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
                  Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

    2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
            example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
            and unexpired leases.


             Person or company with whom you have the contract or lease                      State what the contract or lease is for
                               Name, Number, Street, City, State and ZIP Code
      2.1
               Name


               Number        Street

               City                                     State                   ZIP Code
      2.2
               Name


               Number        Street

               City                                     State                   ZIP Code
      2.3
               Name


               Number        Street

               City                                     State                   ZIP Code
      2.4
               Name


               Number        Street

               City                                     State                   ZIP Code
      2.5
               Name


               Number        Street

               City                                     State                   ZIP Code




    Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
Filed 04/22/19                                                                         Case 19-22492                                                                    Doc 1
     Fill in this information to identify your case:

     Debtor 1                     Chadwick Bowman Wells
                                  First Name                          Middle Name             Last Name

     Debtor 2                     Audra Lee Wells
     (Spouse if, filing)          First Name                          Middle Name             Last Name


     United States Bankruptcy Court for the:                   EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                              Check if this is an
                                                                                                                                             amended filing


    Official Form 106H
    Schedule H: Your Codebtors                                                                                                                               12/15

    Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
    people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
    fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
    your name and case number (if known). Answer every question.

           1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

               No
               Yes

           2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
           Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

               No. Go to line 3.
               Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

                           No
                           Yes.


                             In which community state or territory did you live?              -NONE-          . Fill in the name and current address of that person.


                             Name of your spouse, former spouse, or legal equivalent
                             Number, Street, City, State & Zip Code

       3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
          in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
          Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
          out Column 2.

                    Column 1: Your codebtor                                                                   Column 2: The creditor to whom you owe the debt
                    Name, Number, Street, City, State and ZIP Code                                            Check all schedules that apply:


        3.1         Bowman Wells                                                                                Schedule D, line   2.1
                    501 Elefa Street                                                                            Schedule E/F, line
                    Roseville, CA 95678
                                                                                                                Schedule G
                    Son has been paying the debt as this is his dirt bike
                                                                                                              Honda Financial Services



        3.2         Deidra Wells                                                                                Schedule D, line   2.6
                    501 Elefa Street                                                                            Schedule E/F, line
                    Roseville, CA 95678
                                                                                                                Schedule G
                                                                                                              TD Auto Finance




    Official Form 106H                                                                    Schedule H: Your Codebtors                                      Page 1 of 6
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Filed 04/22/19                                                           Case 19-22492                                                              Doc 1

                  Chadwick Bowman Wells
     Debtor 1 Audra Lee Wells                                                              Case number (if known)


                Additional Page to List More Codebtors
                 Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                                Check all schedules that apply:
        3.3      VanWells, Inc.                                                                   Schedule D, line
                 501 Elefa Street                                                                 Schedule E/F, line    4.1
                 Roseville, CA 95678
                                                                                                  Schedule G
                                                                                                ADP



        3.4      VanWells, Inc.                                                                   Schedule D, line
                 501 Elefa Street                                                                 Schedule E/F, line    4.2
                 Roseville, CA 95678
                                                                                                  Schedule G
                                                                                                ADP



        3.5      VanWells, Inc.                                                                    Schedule D, line
                 501 Elefa Street                                                                  Schedule E/F, line   4.3
                 Roseville, CA 95678
                                                                                                   Schedule G
                                                                                                All in One Pest Control



        3.6      VanWells, Inc.                                                                   Schedule D, line
                 501 Elefa Street                                                                 Schedule E/F, line    4.4
                 Roseville, CA 95678
                                                                                                  Schedule G
                                                                                                Alsco



        3.7      VanWells, Inc.                                                                   Schedule D, line
                 501 Elefa Street                                                                 Schedule E/F, line    4.5
                 Roseville, CA 95678
                                                                                                  Schedule G
                                                                                                Ameripride Linen



        3.8      VanWells, Inc.                                                                   Schedule D, line
                 501 Elefa Street                                                                 Schedule E/F, line    4.6
                 Roseville, CA 95678
                                                                                                  Schedule G
                                                                                                AT and T



        3.9      VanWells, Inc.                                                                   Schedule D, line
                 501 Elefa Street                                                                 Schedule E/F, line 4.7
                 Roseville, CA 95678
                                                                                                  Schedule G
                                                                                                Bank of America Corporate Account



        3.10     VanWells, Inc.                                                                   Schedule D, line
                 501 Elefa Street                                                                 Schedule E/F, line 4.9
                 Roseville, CA 95678
                                                                                                  Schedule G
                                                                                                Berkshire Hathaway GUARD




    Official Form 106H                                                      Schedule H: Your Codebtors                                Page 2 of 6
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Filed 04/22/19                                                           Case 19-22492                                                              Doc 1

                  Chadwick Bowman Wells
     Debtor 1 Audra Lee Wells                                                              Case number (if known)


                Additional Page to List More Codebtors
                 Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                                Check all schedules that apply:
        3.11     VanWells, Inc.                                                                   Schedule D, line
                 501 Elefa Street                                                                 Schedule E/F, line    4.10
                 Roseville, CA 95678
                                                                                                  Schedule G
                                                                                                Berryessa Brewing



        3.12     VanWells, Inc.                                                                   Schedule D, line
                 501 Elefa Street                                                                 Schedule E/F, line    4.13
                 Roseville, CA 95678
                                                                                                  Schedule G
                                                                                                Capitol Pacific



        3.13     VanWells, Inc.                                                                   Schedule D, line
                 501 Elefa Street                                                                 Schedule E/F, line    4.14
                 Roseville, CA 95678
                                                                                                  Schedule G
                                                                                                Cohen Durrett



        3.14     VanWells, Inc.                                                                   Schedule D, line
                 501 Elefa Street                                                                 Schedule E/F, line 4.15
                 Roseville, CA 95678
                                                                                                  Schedule G
                                                                                                Consolidated Communications



        3.15     VanWells, Inc.                                                                   Schedule D, line
                 501 Elefa Street                                                                 Schedule E/F, line 4.16
                 Roseville, CA 95678
                                                                                                  Schedule G
                                                                                                Crooked Lane Brewing



        3.16     VanWells, Inc.                                                                   Schedule D, line
                 501 Elefa Street                                                                 Schedule E/F, line    4.17
                 Roseville, CA 95678
                                                                                                  Schedule G
                                                                                                D and P



        3.17     VanWells, Inc.                                                                   Schedule D, line
                 501 Elefa Street                                                                 Schedule E/F, line    4.18
                 Roseville, CA 95678
                                                                                                  Schedule G
                                                                                                DBI



        3.18     VanWells, Inc.                                                                   Schedule D, line
                 501 Elefa Street                                                                 Schedule E/F, line    4.19
                 Roseville, CA 95678
                                                                                                  Schedule G
                                                                                                DCR




    Official Form 106H                                                      Schedule H: Your Codebtors                                Page 3 of 6
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Filed 04/22/19                                                           Case 19-22492                                                              Doc 1

                  Chadwick Bowman Wells
     Debtor 1 Audra Lee Wells                                                              Case number (if known)


                Additional Page to List More Codebtors
                 Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                                Check all schedules that apply:
        3.19     VanWells, Inc.                                                                   Schedule D, line
                 501 Elefa Street                                                                 Schedule E/F, line 4.20
                 Roseville, CA 95678
                                                                                                  Schedule G
                                                                                                Douglas B. Provencher, Esq.



        3.20     VanWells, Inc.                                                                   Schedule D, line
                 501 Elefa Street                                                                 Schedule E/F, line    4.22
                 Roseville, CA 95678
                                                                                                  Schedule G
                                                                                                Fort Rock Brewing



        3.21     VanWells, Inc.                                                                   Schedule D, line
                 501 Elefa Street                                                                 Schedule E/F, line    4.23
                 Roseville, CA 95678
                                                                                                  Schedule G
                                                                                                Green Air Supply



        3.22     VanWells, Inc.                                                                   Schedule D, line
                 501 Elefa Street                                                                 Schedule E/F, line 4.24
                 Roseville, CA 95678
                                                                                                  Schedule G
                                                                                                Hemar Rousso and Heald, LLP



        3.23     VanWells, Inc.                                                                    Schedule D, line
                 501 Elefa Street                                                                  Schedule E/F, line  4.27
                 Roseville, CA 95678
                                                                                                   Schedule G
                                                                                                Liberty Mutual Insurance



        3.24     VanWells, Inc.                                                                   Schedule D, line
                 501 Elefa Street                                                                 Schedule E/F, line    4.30
                 Roseville, CA 95678
                                                                                                  Schedule G
                                                                                                Markstein Beverage



        3.25     VanWells, Inc.                                                                   Schedule D, line
                 501 Elefa Street                                                                 Schedule E/F, line   4.31
                 Roseville, CA 95678
                                                                                                  Schedule G
                                                                                                Mussetter Distributors



        3.26     VanWells, Inc.                                                                   Schedule D, line
                 501 Elefa Street                                                                 Schedule E/F, line    4.32
                 Roseville, CA 95678
                                                                                                  Schedule G
                                                                                                On Deck




    Official Form 106H                                                      Schedule H: Your Codebtors                                Page 4 of 6
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Filed 04/22/19                                                           Case 19-22492                                                              Doc 1

                  Chadwick Bowman Wells
     Debtor 1 Audra Lee Wells                                                              Case number (if known)


                Additional Page to List More Codebtors
                 Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                                Check all schedules that apply:
        3.27     VanWells, Inc.                                                                   Schedule D, line
                 501 Elefa Street                                                                 Schedule E/F, line    4.33
                 Roseville, CA 95678
                                                                                                  Schedule G
                                                                                                Pacific Gas and Electric



        3.28     VanWells, Inc.                                                                   Schedule D, line
                 501 Elefa Street                                                                 Schedule E/F, line    4.34
                 Roseville, CA 95678
                                                                                                  Schedule G
                                                                                                Pacific Seafood



        3.29     VanWells, Inc.                                                                   Schedule D, line
                 501 Elefa Street                                                                 Schedule E/F, line    4.35
                 Roseville, CA 95678
                                                                                                  Schedule G
                                                                                                Paul Black



        3.30     VanWells, Inc.                                                                   Schedule D, line
                 501 Elefa Street                                                                 Schedule E/F, line    4.36
                 Roseville, CA 95678
                                                                                                  Schedule G
                                                                                                Produce Express



        3.31     VanWells, Inc.                                                                   Schedule D, line
                 501 Elefa Street                                                                 Schedule E/F, line    4.37
                 Roseville, CA 95678
                                                                                                  Schedule G
                                                                                                Rapid Advance



        3.32     VanWells, Inc.                                                                   Schedule D, line
                 501 Elefa Street                                                                 Schedule E/F, line    4.38
                 Roseville, CA 95678
                                                                                                  Schedule G
                                                                                                Saccani Distributiing



        3.33     VanWells, Inc.                                                                   Schedule D, line
                 501 Elefa Street                                                                 Schedule E/F, line    4.40
                 Roseville, CA 95678
                                                                                                  Schedule G
                                                                                                Seatninja



        3.34     VanWells, Inc.                                                                   Schedule D, line
                 501 Elefa Street                                                                 Schedule E/F, line    4.41
                 Roseville, CA 95678
                                                                                                  Schedule G
                                                                                                Sound Pro's




    Official Form 106H                                                      Schedule H: Your Codebtors                                Page 5 of 6
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Filed 04/22/19                                                           Case 19-22492                                                              Doc 1

                  Chadwick Bowman Wells
     Debtor 1 Audra Lee Wells                                                              Case number (if known)


                Additional Page to List More Codebtors
                 Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                                Check all schedules that apply:
        3.35     VanWells, Inc.                                                                   Schedule D, line
                 501 Elefa Street                                                                 Schedule E/F, line 4.42
                 Roseville, CA 95678
                                                                                                  Schedule G
                                                                                                Southern Wine and Spirits



        3.36     VanWells, Inc.                                                                   Schedule D, line
                 501 Elefa Street                                                                 Schedule E/F, line   4.44
                 Roseville, CA 95678
                                                                                                  Schedule G
                                                                                                Terriell Outsource Group



        3.37     VanWells, Inc.                                                                   Schedule D, line
                 501 Elefa Street                                                                 Schedule E/F, line    4.45
                 Roseville, CA 95678
                                                                                                  Schedule G
                                                                                                US Foods



        3.38     VanWells, Inc.                                                                   Schedule D, line
                 501 Elefa Street                                                                 Schedule E/F, line    4.46
                 Roseville, CA 95678
                                                                                                 Schedule G
                                                                                                Wolkin Law Group



        3.39     VanWells, Inc.                                                                   Schedule D, line
                 501 Elefa Street                                                                 Schedule E/F, line    4.47
                 Roseville, CA 95678
                                                                                                  Schedule G
                                                                                                Zee Medical



        3.40     VanWells, Inc.                                                                   Schedule D, line
                 501 Elefa Street                                                                 Schedule E/F, line    4.21
                 Roseville, CA 95678
                                                                                                  Schedule G
                                                                                                EnviroMasters Inc




    Official Form 106H                                                      Schedule H: Your Codebtors                                Page 6 of 6
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Filed 04/22/19                                                         Case 19-22492                                                                          Doc 1



     Fill in this information to identify your case:

     Debtor 1                      Chadwick Bowman Wells

     Debtor 2                      Audra Lee Wells
     (Spouse, if filing)

     United States Bankruptcy Court for the:       EASTERN DISTRICT OF CALIFORNIA

     Case number                                                                                             Check if this is:
     (If known)
                                                                                                                An amended filing
                                                                                                                A supplement showing postpetition chapter
                                                                                                                13 income as of the following date:

     Official Form 106I                                                                                         MM / DD/ YYYY
     Schedule I: Your Income                                                                                                                           12/15
    Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
    supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
    spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
    attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

     Part 1:               Describe Employment

     1.     Fill in your employment
            information.                                                Debtor 1                                  Debtor 2 or non-filing spouse

            If you have more than one job,                                 Employed                                  Employed
            attach a separate page with           Employment status
            information about additional                                   Not employed                              Not employed
            employers.
                                                  Occupation            Sales                                     Graphic Designer
            Include part-time, seasonal, or
            self-employed work.                   Employer's name       South Placer Heating & Air                Wood Rogers

            Occupation may include student        Employer's address    3856 Cincinnati Avenue, Suite
            or homemaker, if it applies.                                A                                         3301 C Street
                                                                        Rocklin, CA 95765                         Sacramento, CA 95816

                                                  How long employed there?         1 1/2 years                              14 years

     Part 2:               Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.

    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
    more space, attach a separate sheet to this form.

                                                                                                           For Debtor 1        For Debtor 2 or
                                                                                                                               non-filing spouse

            List monthly gross wages, salary, and commissions (before all payroll
     2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $        4,700.00       $         5,808.00

     3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00      +$            0.00

     4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      4,700.00             $   5,808.00




    Official Form 106I                                                       Schedule I: Your Income                                                page 1
Filed 04/22/19                                                       Case 19-22492                                                                                 Doc 1


     Debtor 1   Chadwick Bowman Wells
     Debtor 2   Audra Lee Wells                                                                       Case number (if known)



                                                                                                          For Debtor 1          For Debtor 2 or
                                                                                                                                non-filing spouse
          Copy line 4 here                                                                     4.         $      4,700.00       $         5,808.00

     5.   List all payroll deductions:
          5a.   Tax, Medicare, and Social Security deductions                                  5a.        $      1,400.00       $           872.00
          5b.   Mandatory contributions for retirement plans                                   5b.        $          0.00       $             0.00
          5c.   Voluntary contributions for retirement plans                                   5c.        $          0.00       $           580.00
          5d.   Required repayments of retirement fund loans                                   5d.        $          0.00       $             0.00
          5e.   Insurance                                                                      5e.        $          0.00       $           931.00
          5f.   Domestic support obligations                                                   5f.        $          0.00       $             0.00
          5g.   Union dues                                                                     5g.        $          0.00       $             0.00
          5h.   Other deductions. Specify:                                                     5h.+       $          0.00 +     $             0.00
     6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          1,400.00       $        2,383.00
     7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          3,300.00       $        3,425.00
     8.   List all other income regularly received:
          8a. Net income from rental property and from operating a business,
                 profession, or farm
                 Attach a statement for each property and business showing gross
                 receipts, ordinary and necessary business expenses, and the total
                 monthly net income.                                                           8a.        $              0.00   $                0.00
          8b. Interest and dividends                                                           8b.        $              0.00   $                0.00
          8c. Family support payments that you, a non-filing spouse, or a dependent
                 regularly receive
                 Include alimony, spousal support, child support, maintenance, divorce
                 settlement, and property settlement.                                          8c.        $              0.00   $                0.00
          8d. Unemployment compensation                                                        8d.        $              0.00   $                0.00
          8e. Social Security                                                                  8e.        $              0.00   $                0.00
          8f.    Other government assistance that you regularly receive
                 Include cash assistance and the value (if known) of any non-cash assistance
                 that you receive, such as food stamps (benefits under the Supplemental
                 Nutrition Assistance Program) or housing subsidies.
                 Specify:                                                                      8f.  $                    0.00   $                0.00
          8g. Pension or retirement income                                                     8g. $                     0.00   $                0.00
          8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                0.00

     9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $                 0.00

     10. Calculate monthly income. Add line 7 + line 9.                                    10. $              3,300.00 + $       3,425.00 = $            6,725.00
         Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
     11. State all other regular contributions to the expenses that you list in Schedule J.
         Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
         other friends or relatives.
         Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
         Specify:                                                                                                                  11. +$                    0.00

     12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
         Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
         applies                                                                                                                      12.    $           6,725.00
                                                                                                                                            Combined
                                                                                                                                            monthly income
     13. Do you expect an increase or decrease within the year after you file this form?
               No.
               Yes. Explain: Pay for Debtor is an average due to variances on commission.




    Official Form 106I                                                      Schedule I: Your Income                                                       page 2
Filed 04/22/19                                                               Case 19-22492                                                                          Doc 1



      Fill in this information to identify your case:

      Debtor 1                 Chadwick Bowman Wells                                                             Check if this is:
                                                                                                                     An amended filing
      Debtor 2                 Audra Lee Wells                                                                       A supplement showing postpetition chapter
      (Spouse, if filing)                                                                                            13 expenses as of the following date:

      United States Bankruptcy Court for the:   EASTERN DISTRICT OF CALIFORNIA                                             MM / DD / YYYY

      Case number
      (If known)



      Official Form 106J
      Schedule J: Your Expenses                                                                                                                                12/15
      Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
      information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
      number (if known). Answer every question.

      Part 1:   Describe Your Household
      1. Is this a joint case?
                 No. Go to line 2.
                 Yes. Does Debtor 2 live in a separate household?

                            No
                            Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

      2.    Do you have dependents?               No
            Do not list Debtor 1 and              Yes.
                                                         Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
            Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

            Do not state the                                                                                                                       No
            dependents names.                                                            Son                                  16                   Yes
                                                                                                                                                   No
                                                                                         Son                                  20                   Yes
                                                                                                                                                   No
                                                                                         Daughter                             23                   Yes
                                                                                                                                                   No
                                                                                                                                                   Yes
      3.    Do your expenses include                     No
            expenses of people other than
            yourself and your dependents?                Yes

      Part 2:    Estimate Your Ongoing Monthly Expenses
      Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
      expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
      applicable date.

      Include expenses paid for with non-cash government assistance if you know
      the value of such assistance and have included it on Schedule I: Your Income
      (Official Form 106I.)                                                                                                        Your expenses


      4.    The rental or home ownership expenses for your residence. Include first mortgage
            payments and any rent for the ground or lot.                                                          4. $                             1,825.00

            If not included in line 4:

            4a. Real estate taxes                                                                               4a.    $                              0.00
            4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                              0.00
            4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            200.00
            4d. Homeowner’s association or condominium dues                                                     4d.    $                              0.00
      5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                              0.00



      Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
Filed 04/22/19                                                             Case 19-22492                                                                                     Doc 1


      Debtor 1     Chadwick Bowman Wells
      Debtor 2     Audra Lee Wells                                                                           Case number (if known)

      6.    Utilities:
            6a. Electricity, heat, natural gas                                                     6a. $                                                329.00
            6b. Water, sewer, garbage collection                                                   6b. $                                                250.00
            6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                500.00
            6d. Other. Specify:                                                                    6d. $                                                  0.00
      7.    Food and housekeeping supplies                                                           7. $                                             1,350.00
      8.    Childcare and children’s education costs                                                 8. $                                                 0.00
      9.    Clothing, laundry, and dry cleaning                                                      9. $                                               200.00
      10.   Personal care products and services                                                    10. $                                                165.00
      11.   Medical and dental expenses                                                            11. $                                                100.00
      12.   Transportation. Include gas, maintenance, bus or train fare.
            Do not include car payments.                                                           12. $                                                 500.00
      13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 200.00
      14.   Charitable contributions and religious donations                                       14. $                                                   0.00
      15.   Insurance.
            Do not include insurance deducted from your pay or included in lines 4 or 20.
            15a. Life insurance                                                                  15a. $                                                  324.00
            15b. Health insurance                                                                15b. $                                                    0.00
            15c. Vehicle insurance                                                               15c. $                                                  250.00
            15d. Other insurance. Specify:                                                       15d. $                                                    0.00
      16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
            Specify:                                                                               16. $                                                    0.00
      17.   Installment or lease payments:
            17a. Car payments for Vehicle 1                                                      17a. $                                                  477.00
            17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
            17c. Other. Specify:                                                                 17c. $                                                    0.00
            17d. Other. Specify:                                                                 17d. $                                                    0.00
      18.   Your payments of alimony, maintenance, and support that you did not report as
            deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
      19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
            Specify:                                                                               19.
      20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
            20a. Mortgages on other property                                                     20a. $                                                    0.00
            20b. Real estate taxes                                                               20b. $                                                    0.00
            20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
            20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
            20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
      21.   Other: Specify:    Pet care                                                            21. +$                                                 50.00
      22. Calculate your monthly expenses
          22a. Add lines 4 through 21.                                                                                     $                       6,720.00
          22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
            22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       6,720.00
      23. Calculate your monthly net income.
          23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               6,725.00
          23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              6,720.00

            23c. Subtract your monthly expenses from your monthly income.
                 The result is your monthly net income.                                                           23c. $                                    5.00

      24. Do you expect an increase or decrease in your expenses within the year after you file this form?
            For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
            modification to the terms of your mortgage?
               No.
               Yes.             Explain here:




      Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
Filed 04/22/19                                                                Case 19-22492                                                                             Doc 1




     Fill in this information to identify your case:

     Debtor 1                    Chadwick Bowman Wells
                                 First Name                     Middle Name             Last Name

     Debtor 2                    Audra Lee Wells
     (Spouse if, filing)         First Name                     Middle Name             Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                           Check if this is an
                                                                                                                                          amended filing



    Official Form 106Dec
    Declaration About an Individual Debtor's Schedules                                                                                                          12/15

    If two married people are filing together, both are equally responsible for supplying correct information.

    You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
    obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
    years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                           Sign Below


            Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                    No

                    Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                    Declaration, and Signature (Official Form 119)


           Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
           that they are true and correct.

            X /s/ Chadwick Bowman Wells                                                 X   /s/ Audra Lee Wells
                  Chadwick Bowman Wells                                                     Audra Lee Wells
                  Signature of Debtor 1                                                     Signature of Debtor 2

                  Date       April 22, 2019                                                 Date    April 22, 2019




    Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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Filed 04/22/19                                                                  Case 19-22492                                                                               Doc 1



     Fill in this information to identify your case:

     Debtor 1                  Chadwick Bowman Wells
                               First Name                       Middle Name                  Last Name

     Debtor 2                  Audra Lee Wells
     (Spouse if, filing)       First Name                       Middle Name                  Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                                  Check if this is an
                                                                                                                                                 amended filing



    Official Form 107
    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/19
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
    number (if known). Answer every question.

     Part 1:        Give Details About Your Marital Status and Where You Lived Before

    1.     What is your current marital status?

                   Married
                   Not married

    2.     During the last 3 years, have you lived anywhere other than where you live now?

                   No
                   Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

            Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                              Dates Debtor 2
                                                                    lived there                                                                      lived there

    3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
    states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

                   No
                   Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

     Part 2         Explain the Sources of Your Income

    4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
           Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
           If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

                   No
                   Yes. Fill in the details.

                                                       Debtor 1                                                        Debtor 2
                                                       Sources of income                Gross income                   Sources of income             Gross income
                                                       Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                        exclusions)                                                  and exclusions)

     From January 1 of current year until                 Wages, commissions,                       $14,595.00            Wages, commissions,                $19,980.00
     the date you filed for bankruptcy:
                                                       bonuses, tips                                                   bonuses, tips
                                                           Operating a business                                           Operating a business




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
Filed 04/22/19                                                                  Case 19-22492                                                                                  Doc 1
     Debtor 1      Chadwick Bowman Wells
     Debtor 2      Audra Lee Wells                                                                             Case number (if known)


                                                       Debtor 1                                                        Debtor 2
                                                       Sources of income                Gross income                   Sources of income                Gross income
                                                       Check all that apply.            (before deductions and         Check all that apply.            (before deductions
                                                                                        exclusions)                                                     and exclusions)

     For last calendar year:                              Wages, commissions,                       $56,242.00            Wages, commissions,                  $75,214.00
     (January 1 to December 31, 2018 )
                                                       bonuses, tips                                                   bonuses, tips

                                                           Operating a business                                           Operating a business

     For the calendar year before that:                   Wages, commissions,                              $0.00          Wages, commissions,                  $65,275.00
     (January 1 to December 31, 2017 )
                                                       bonuses, tips                                                   bonuses, tips

                                                           Operating a business                                           Operating a business


    5.    Did you receive any other income during this year or the two previous calendar years?
          Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
          and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
          winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

          List each source and the gross income from each source separately. Do not include income that you listed in line 4.

                No
                Yes. Fill in the details.

                                                       Debtor 1                                                        Debtor 2
                                                       Sources of income                Gross income from              Sources of income                Gross income
                                                       Describe below.                  each source                    Describe below.                  (before deductions
                                                                                        (before deductions and                                          and exclusions)
                                                                                        exclusions)

     Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

    6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
                No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                        individual primarily for a personal, family, or household purpose.”

                        During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                             No.       Go to line 7.
                             Yes     List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                     paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                     not include payments to an attorney for this bankruptcy case.
                         * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

                Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                             No.       Go to line 7.
                             Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                       include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                       attorney for this bankruptcy case.


           Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                         paid            still owe
           Mr. Cooper                                               Normal Monthly                  $5,475.00         $327,500.00              Mortgage
           PO Box 619098                                            Payments                                                                   Car
           Dallas, TX 75261-9741
                                                                                                                                               Credit Card
                                                                                                                                               Loan Repayment
                                                                                                                                               Suppliers or vendors
                                                                                                                                               Other




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 2
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Filed 04/22/19                                                                  Case 19-22492                                                                              Doc 1
     Debtor 1      Chadwick Bowman Wells
     Debtor 2      Audra Lee Wells                                                                             Case number (if known)


           Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                         paid            still owe
           Schools FCU                                              Normal Monthly                  $1,430.00          $24,800.00         Mortgage
           PO Box 526001                                            Payments                                                              Car
           Sacramento, CA 95852-6001
                                                                                                                                          Credit Card
                                                                                                                                          Loan Repayment
                                                                                                                                          Suppliers or vendors
                                                                                                                                          Other


    7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
          Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
          of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
          a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
          alimony.

                No
                Yes. List all payments to an insider.
           Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                         paid            still owe

    8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
          insider?
          Include payments on debts guaranteed or cosigned by an insider.

                No
                Yes. List all payments to an insider
           Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                         paid            still owe      Include creditor's name

     Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

    9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
          List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
          modifications, and contract disputes.

                No
                Yes. Fill in the details.
           Case title                                               Nature of the case          Court or agency                         Status of the case
           Case number
           Ascentium Capital LLC v.                                 Collection                  Placer County Superior                     Pending
           Vanwells, Inc., et al.                                                               Court                                      On appeal
           SCV0041834                                                                           Civil Division
                                                                                                                                           Concluded
                                                                                                10820 Justice Center Drive
                                                                                                Roseville, CA 95678
                                                                                                                                        Default judgment for
                                                                                                                                        Plaintiff

           Collectronics, Inc. v. Vanwells,                         Collection                  Sonoma County Superior                     Pending
           Inc., et al.                                                                         Court                                      On appeal
           MCV 245686                                                                           600 Administrative Drive,
                                                                                                                                           Concluded
                                                                                                Room 107J
                                                                                                Santa Rosa, CA 95403
                                                                                                                                        Judgment for Plaintiff

           Cohen Durrett v. Wells, et al.                           Collection                  Sacramento Superior Court                  Pending
           34-2018-00229598                                                                     Civil Division                             On appeal
                                                                                                720 9th Street
                                                                                                                                           Concluded
                                                                                                Sacramento, CA 95814
                                                                                                                                        Judgment for Plaintiff



    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
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Filed 04/22/19                                                                   Case 19-22492                                                                        Doc 1
     Debtor 1      Chadwick Bowman Wells
     Debtor 2      Audra Lee Wells                                                                             Case number (if known)


    10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
        Check all that apply and fill in the details below.

                No. Go to line 11.
                Yes. Fill in the information below.
           Creditor Name and Address                                Describe the Property                                         Date                 Value of the
                                                                                                                                                          property
                                                                    Explain what happened
           Douglas B. Provencher, Esq.                              Business debt - Collectronics v Vanwells,                     8/21/18                $8,891.50
           Provencher and Flatt LLP                                 Inc., et al.
           823 Sonoma Avenue
           Santa Rosa, CA 95404                                     Young's Market

                                                                         Property was repossessed.
                                                                         Property was foreclosed.
                                                                         Property was garnished.

                                                                         Property was attached, seized or levied.

           California Department of Tax and                         Tax - liquor license sale                                     8/21/18              $44,454.95
           Fee
           Account Information Group MIC:29                              Property was repossessed.
           PO Box 942879                                                 Property was foreclosed.
           Sacramento, CA 94279                                          Property was garnished.

                                                                         Property was attached, seized or levied.

           Franchise Tax Board                                      Tax - liquor license sale                                     8/21/18                $3,610.29
           Bankruptcy Unit
           P.O. Box 2952 - MS A-340                                      Property was repossessed.
           Sacramento, CA 95812-2952                                     Property was foreclosed.
                                                                         Property was garnished.

                                                                         Property was attached, seized or levied.


    11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
        accounts or refuse to make a payment because you owed a debt?
                No
                Yes. Fill in the details.
           Creditor Name and Address                                Describe the action the creditor took                         Date action was           Amount
                                                                                                                                  taken

    12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
        court-appointed receiver, a custodian, or another official?

                No
                Yes

     Part 5:      List Certain Gifts and Contributions

    13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
                No
                Yes. Fill in the details for each gift.
           Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave               Value
           per person                                                                                                             the gifts

           Person to Whom You Gave the Gift and
           Address:




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    14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
                No
                Yes. Fill in the details for each gift or contribution.
           Gifts or contributions to charities that total                Describe what you contributed                            Dates you                       Value
           more than $600                                                                                                         contributed
           Charity's Name
           Address (Number, Street, City, State and ZIP Code)

     Part 6:      List Certain Losses

    15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
        or gambling?

                No
                Yes. Fill in the details.
           Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your       Value of property
           how the loss occurred                                                                                                  loss                            lost
                                                                Include the amount that insurance has paid. List pending
                                                                insurance claims on line 33 of Schedule A/B: Property.

     Part 7:      List Certain Payments or Transfers

    16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
        consulted about seeking bankruptcy or preparing a bankruptcy petition?
        Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

                No
                Yes. Fill in the details.
           Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
           Address                                                       transferred                                              or transfer was            payment
           Email or website address                                                                                               made
           Person Who Made the Payment, if Not You
           Law Office of Barry H. Spitzer                                Attorney Fees                                                                      $2,500.00
           980 9th Street, Suite 380
           Sacramento, CA 95814
           barry@spitzerlaw.com


    17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
        promised to help you deal with your creditors or to make payments to your creditors?
        Do not include any payment or transfer that you listed on line 16.

                No
                Yes. Fill in the details.
           Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
           Address                                                       transferred                                              or transfer was            payment
                                                                                                                                  made

    18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
        transferred in the ordinary course of your business or financial affairs?
        Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
        include gifts and transfers that you have already listed on this statement.
             No
                Yes. Fill in the details.
           Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
           Address                                                       property transferred                       payments received or debts      made
                                                                                                                    paid in exchange
           Person's relationship to you




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     Debtor 2      Audra Lee Wells                                                                             Case number (if known)


           Person Who Received Transfer                                  Description and value of                   Describe any property or     Date transfer was
           Address                                                       property transferred                       payments received or debts   made
                                                                                                                    paid in exchange
           Person's relationship to you
           Cirgadyne, Inc.                                               Liquor License - On-sale                   $70,000 less $44,454.95      8/21/18
           c/o ABC Escrow                                                general eating place -                     to CA Dept of Tax and
           2222 Damon Street                                             #47-522649                                 Fee Administration
           Los Angeles, CA 90021                                                                                                $ 3,610.29
                                                                                                                    to FTB
           None                                                                                                                 $ 8,891.50
                                                                                                                    to Collectronics for
                                                                                                                    Young's Market (LA
                                                                                                                    County Sheriff)
                                                                                                                                $ 187.50 to
                                                                                                                    attorney Steven H.
                                                                                                                    Gardner, PC
                                                                                                                                $ 312.50 to
                                                                                                                    ABC Escrow
                                                                                                                    Net to Debtor -
                                                                                                                    $12,543.26


    19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
        beneficiary? (These are often called asset-protection devices.)
                No
                Yes. Fill in the details.
           Name of trust                                                 Description and value of the property transferred                       Date Transfer was
                                                                                                                                                 made

     Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

    20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
        sold, moved, or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
        houses, pension funds, cooperatives, associations, and other financial institutions.
                No
                Yes. Fill in the details.
           Name of Financial Institution and                        Last 4 digits of           Type of account or           Date account was          Last balance
           Address (Number, Street, City, State and ZIP             account number             instrument                   closed, sold,         before closing or
           Code)                                                                                                            moved, or                      transfer
                                                                                                                            transferred

    21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
        cash, or other valuables?

                No
                Yes. Fill in the details.
           Name of Financial Institution                                 Who else had access to it?            Describe the contents               Do you still
           Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                            have it?
                                                                         State and ZIP Code)


    22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

                No
                Yes. Fill in the details.
           Name of Storage Facility                                      Who else has or had access            Describe the contents               Do you still
           Address (Number, Street, City, State and ZIP Code)            to it?                                                                    have it?
                                                                         Address (Number, Street, City,
                                                                         State and ZIP Code)

           Pleasant Grove Self Storage                                   Debtors                               2 couches; 4 leather chairs;           No
           7101 Galilee Road                                                                                   small portable bar; 2 wine             Yes
           Roseville, CA 95678                                                                                 barrels; large chalk board; 4
                                                                                                               boxes dishware

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     Part 9:      Identify Property You Hold or Control for Someone Else

    23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
        for someone.

                No
                Yes. Fill in the details.
           Owner's Name                                                  Where is the property?                     Describe the property                      Value
           Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                         Code)

     Part 10:     Give Details About Environmental Information

    For the purpose of Part 10, the following definitions apply:

          Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
          toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
          regulations controlling the cleanup of these substances, wastes, or material.
          Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
          to own, operate, or utilize it, including disposal sites.
          Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
          hazardous material, pollutant, contaminant, or similar term.

    Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

    24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

                No
                Yes. Fill in the details.
           Name of site                                                  Governmental unit                             Environmental law, if you   Date of notice
           Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                         ZIP Code)

    25. Have you notified any governmental unit of any release of hazardous material?

                No
                Yes. Fill in the details.
           Name of site                                                  Governmental unit                             Environmental law, if you   Date of notice
           Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                         ZIP Code)

    26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

                No
                Yes. Fill in the details.
           Case Title                                                    Court or agency                            Nature of the case             Status of the
           Case Number                                                   Name                                                                      case
                                                                         Address (Number, Street, City,
                                                                         State and ZIP Code)

     Part 11:     Give Details About Your Business or Connections to Any Business

    27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                    A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                    A member of a limited liability company (LLC) or limited liability partnership (LLP)

                    A partner in a partnership

                    An officer, director, or managing executive of a corporation

                    An owner of at least 5% of the voting or equity securities of a corporation




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     Debtor 1      Chadwick Bowman Wells
     Debtor 2      Audra Lee Wells                                                                             Case number (if known)


                 No. None of the above applies. Go to Part 12.

                 Yes. Check all that apply above and fill in the details below for each business.
            Business Name                                           Describe the nature of the business              Employer Identification number
            Address                                                                                                  Do not include Social Security number or ITIN.
            (Number, Street, City, State and ZIP Code)              Name of accountant or bookkeeper
                                                                                                                     Dates business existed
            Vanwells, Inc.                                          Restuarant and Bar                               EIN:         XX-XXXXXXX
            501 Elefa Street
            Roseville, CA 95678                                     Thamas A. Balarsky                               From-To      1/25/2000 - 10/20/2017


    28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
        institutions, creditors, or other parties.

                 No
                 Yes. Fill in the details below.
            Name                                                    Date Issued
            Address
            (Number, Street, City, State and ZIP Code)

     Part 12:     Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
    are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
    with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152, 1341, 1519, and 3571.

     /s/ Chadwick Bowman Wells                                               /s/ Audra Lee Wells
     Chadwick Bowman Wells                                                   Audra Lee Wells
     Signature of Debtor 1                                                   Signature of Debtor 2

     Date      April 22, 2019                                                Date     April 22, 2019

    Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
       No
       Yes

    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
       No
       Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 8
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     Fill in this information to identify your case:

     Debtor 1                 Chadwick Bowman Wells
                              First Name                        Middle Name              Last Name

     Debtor 2                 Audra Lee Wells
     (Spouse if, filing)      First Name                        Middle Name              Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                              Check if this is an
                                                                                                                             amended filing



    Official Form 108
    Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


    If you are an individual filing under chapter 7, you must fill out this form if:
        creditors have claims secured by your property, or
      you have leased personal property and the lease has not expired.
    You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
            whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
            on the form

    If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
             sign and date the form.

    Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
            write your name and case number (if known).

     Part 1:        List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.
        Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                                   secures a debt?                                    as exempt on Schedule C?



        Creditor's         Honda Financial Services                             Surrender the property.                     No
        name:                                                                   Retain the property and redeem it.
                                                                                Retain the property and enter into a        Yes
        Description of       2016 Honda CRF250X 260 miles                       Reaffirmation Agreement.
        property                                                                Retain the property and [explain]:
        securing debt:



        Creditor's         Mr. Cooper                                           Surrender the property.                     No
        name:                                                                   Retain the property and redeem it.
                                                                                Retain the property and enter into a        Yes
        Description of 501 Elefa Street Roseville, CA                           Reaffirmation Agreement.
        property       95678 Placer County                                      Retain the property and [explain]:
        securing debt: 1,974 sq ft and was built in                            Debtors will retain collateral and
                       1929. It contains 3 bedrooms                           continue paying normal monthly
                       and 2 bathrooms                                        payments


        Creditor's         NCB, FSB                                             Surrender the property.                     No
        name:                                                                   Retain the property and redeem it.
                                                                                Retain the property and enter into a        Yes
        Description of       501 Elefa Street Roseville, CA                     Reaffirmation Agreement.

    Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                          page 1

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     Debtor 1      Chadwick Bowman Wells
     Debtor 2      Audra Lee Wells                                                                        Case number (if known)


        property            95678 Placer County                                 Retain the property and [explain]:
        securing debt:      1,974 sq ft and was built in
                            1929. It contains 3 bedrooms
                            and 2 bathrooms                                   Debtors will retain collateral



        Creditor's     Richard Azevedo                                          Surrender the property.                                     No
        name:                                                                   Retain the property and redeem it.
                                                                                Retain the property and enter into a                        Yes
        Description of 501 Elefa Street Roseville, CA                           Reaffirmation Agreement.
        property       95678 Placer County                                      Retain the property and [explain]:
        securing debt: 1,974 sq ft and was built in
                       1929. It contains 3 bedrooms
                       and 2 bathrooms                                        Debtors will retain collateral



        Creditor's     Schools FCU                                              Surrender the property.                                     No
        name:                                                                   Retain the property and redeem it.
                                                                                Retain the property and enter into a                        Yes
        Description of      2014 Jeep Grand Cherokee                            Reaffirmation Agreement.
        property            70000 miles                                         Retain the property and [explain]:
        securing debt:



        Creditor's     TD Auto Finance                                          Surrender the property.                                     No
        name:                                                                   Retain the property and redeem it.
                                                                                Retain the property and enter into a                        Yes
        Description of      2014 Chrysler 200 68000 miles                       Reaffirmation Agreement.
        property            Fair condition                                      Retain the property and [explain]:
        securing debt:

     Part 2:   List Your Unexpired Personal Property Leases
    For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
    in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
    You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                              Will the lease be assumed?

     Lessor's name:                                                                                                                   No
     Description of leased
     Property:                                                                                                                        Yes

     Lessor's name:                                                                                                                   No
     Description of leased
     Property:                                                                                                                        Yes

     Lessor's name:                                                                                                                   No
     Description of leased
     Property:                                                                                                                        Yes

     Lessor's name:                                                                                                                   No
     Description of leased
     Property:                                                                                                                        Yes

     Lessor's name:                                                                                                                   No



    Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

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     Debtor 1      Chadwick Bowman Wells
     Debtor 2      Audra Lee Wells                                                                       Case number (if known)


     Description of leased                                                                                                        Yes
     Property:

     Lessor's name:                                                                                                               No
     Description of leased
     Property:                                                                                                                    Yes

     Lessor's name:                                                                                                               No
     Description of leased
     Property:                                                                                                                    Yes

     Part 3:      Sign Below

    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
    property that is subject to an unexpired lease.

     X     /s/ Chadwick Bowman Wells                                                    X /s/ Audra Lee Wells
           Chadwick Bowman Wells                                                           Audra Lee Wells
           Signature of Debtor 1                                                           Signature of Debtor 2

           Date        April 22, 2019                                                   Date    April 22, 2019




    Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                          page 3

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     Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                       122A-1Supp:
     Debtor 1              Chadwick Bowman Wells
     Debtor 2              Audra Lee Wells                                                                     1. There is no presumption of abuse
     (Spouse, if filing)
                                                                                                               2. The calculation to determine if a presumption of abuse
     United States Bankruptcy Court for the:            Eastern District of California
                                                                                                                   applies will be made under Chapter 7 Means Test
                                                                                                                   Calculation (Official Form 122A-2).
     Case number
     (if known)                                                                                                3. The Means Test does not apply now because of
                                                                                                                   qualified military service but it could apply later.
                                                                                                               Check if this is an amended filing
    Official Form 122A - 1
    Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
    attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
    case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
    qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

     Part 1:           Calculate Your Current Monthly Income

      1. What is your marital and filing status? Check one only.
                  Not married. Fill out Column A, lines 2-11.
                  Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
                  Married and your spouse is NOT filing with you. You and your spouse are:
                     Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                     Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                     penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                     living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
        101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
        the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
        spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                           Column A                   Column B
                                                                                                           Debtor 1                   Debtor 2 or
                                                                                                                                      non-filing spouse
      2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
         payroll deductions).                                                               $                                         $
      3. Alimony and maintenance payments. Do not include payments from a spouse if
         Column B is filled in.                                                             $                                         $
      4. All amounts from any source which are regularly paid for household expenses
         of you or your dependents, including child support. Include regular contributions
         from an unmarried partner, members of your household, your dependents, parents,
         and roommates. Include regular contributions from a spouse only if Column B is not
         filled in. Do not include payments you listed on line 3.                           $                                         $
      5. Net income from operating a business, profession, or farm
                                                                           Debtor 1
            Gross receipts (before all deductions)                            $
            Ordinary and necessary operating expenses                        -$
            Net monthly income from a business, profession, or farm $                        Copy here -> $                           $
      6. Net income from rental and other real property
                                                                                         Debtor 1
            Gross receipts (before all deductions)                            $
            Ordinary and necessary operating expenses                        -$
            Net monthly income from rental or other real property            $               Copy here -> $                           $
                                                                                                           $                          $
      7. Interest, dividends, and royalties




    Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                     page 1
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Filed 04/22/19                                                               Case 19-22492                                                                                   Doc 1

     Debtor 1     Chadwick Bowman Wells
     Debtor 2     Audra Lee Wells                                                                           Case number (if known)



                                                                                                        Column A                     Column B
                                                                                                        Debtor 1                     Debtor 2 or
                                                                                                                                     non-filing spouse
      8. Unemployment compensation                                                           $                                       $
         Do not enter the amount if you contend that the amount received was a benefit under
         the Social Security Act. Instead, list it here:
            For you                                          $
                For your spouse                                          $
      9. Pension or retirement income. Do not include any amount received that was a
          benefit under the Social Security Act.                                                        $                            $
      10. Income from all other sources not listed above. Specify the source and amount.
          Do not include any benefits received under the Social Security Act or payments
          received as a victim of a war crime, a crime against humanity, or international or
          domestic terrorism. If necessary, list other sources on a separate page and put the
          total below.
                 .                                                                                      $                            $
                                                                                                        $                            $
                      Total amounts from separate pages, if any.                                    +   $                            $

      11. Calculate your total current monthly income. Add lines 2 through 10 for
          each column. Then add the total for Column A to the total for Column B.               $                        +   $                   =   $

                                                                                                                                                     Total current monthly
                                                                                                                                                     income

     Part 2:        Determine Whether the Means Test Applies to You

      12. Calculate your current monthly income for the year. Follow these steps:
           12a. Copy your total current monthly income from line 11                                               Copy line 11 here=>            $


                  Multiply by 12 (the number of months in a year)                                                                                        x 12
           12b. The result is your annual income for this part of the form                                                                 12b. $


      13. Calculate the median family income that applies to you. Follow these steps:
           Fill in the state in which you live.

           Fill in the number of people in your household.

           Fill in the median family income for your state and size of household.                                                          13.   $
           To find a list of applicable median income amounts, go online using the link specified in the separate instructions
           for this form. This list may also be available at the bankruptcy clerk’s office.
      14. How do the lines compare?
           14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                          Go to Part 3.
           14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                          Go to Part 3 and fill out Form 122A-2.
     Part 3:        Sign Below
                  By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

                 X /s/ Chadwick Bowman Wells                                              X /s/ Audra Lee Wells
                    Chadwick Bowman Wells                                                     Audra Lee Wells
                    Signature of Debtor 1                                                     Signature of Debtor 2
            Date April 22, 2019                                                        Date April 22, 2019
                 MM / DD / YYYY                                                             MM / DD / YYYY
                  If you checked line 14a, do NOT fill out or file Form 122A-2.
                  If you checked line 14b, fill out Form 122A-2 and file it with this form.




    Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                    page 2
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     Fill in this information to identify your case:

     Debtor 1            Chadwick Bowman Wells

     Debtor 2           Audra Lee Wells
     (Spouse, if filing)

     United States Bankruptcy Court for the:            Eastern District of California

     Case number                                                                                      Check if this is an amended filing
     (if known)



    Official Form 122A - 1Supp
    Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                     12/15

    File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
    exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
    exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 If you believe that this is
    required by 11 U.S.C. § 707(b)(2)(C).

     Part 1:         Identify the Kind of Debts You Have

      1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
         personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
         Individuals Filing for Bankruptcy (Official Form 1).

               No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
                   supplement with the signed Form 122A-1.
               Yes. Go to Part 2.


     Part 2:         Determine Whether Military Service Provisions Apply to You

      2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
               No. Go to line 3.
               Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                    10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                      No.    Go to line 3.
                      Yes.   Go to Form 122A-1: on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                             submit this supplement with the signed Form 122A-1.

      3. Are you or have you been a Reservist or member of the National Guard?
               No.     Complete Form 122A-1. Do not submit this supplement.
               Yes.    Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                      No.    Complete Form 122A-1. Do not submit this supplement.
                      Yes.   Check any one of the following categories that applies:
                                                                                                If you checked one of the categories to the left, go to Form
                             I was called to active duty after September 11, 2001, for at least 122A-1. On the top of page 1 of Form 122A-1, check box 3,
                             90 days and remain on active duty.                                 The Means Test does not apply now, and sign Part 3. Then
                                                                                                submit this supplement with the signed Form 122A-1. You
                             I was called to active duty after September 11, 2001, for at least are not required to fill out the rest of Official Form 122A-1
                             90 days and was released from active duty on                     , during the exclusion period. The exclusion period means
                             which is fewer than 540 days before I file this bankruptcy case.   the time you are on active duty or are performing a
                                                                                                homeland defense activity, and for 540 days afterward. 11
                             I am performing a homeland defense activity for at least 90 days. U.S.C. § 707(b)(2)(D)(ii).

                             I performed a homeland defense activity for at least 90 days,
                                                                                                   If your exclusion period ends before your case is closed,
                             ending on                  , which is fewer than 540 days before I
                                                                                                   you may have to file an amended form later.
                             file this bankruptcy case.




    Official Form 122A-1Supp                       Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                 page 1
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Filed 04/22/19                                                                   Case 19-22492                                                                                   Doc 1


     Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                       122A-1Supp:
     Debtor 1              Chadwick Bowman Wells
     Debtor 2              Audra Lee Wells                                                                     1. There is no presumption of abuse
     (Spouse, if filing)
                                                                                                               2. The calculation to determine if a presumption of abuse
     United States Bankruptcy Court for the:            Eastern District of California
                                                                                                                   applies will be made under Chapter 7 Means Test
                                                                                                                   Calculation (Official Form 122A-2).
     Case number
     (if known)                                                                                                3. The Means Test does not apply now because of
                                                                                                                   qualified military service but it could apply later.
                                                                                                               Check if this is an amended filing
    Official Form 122A - 1
    Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
    attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
    case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
    qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

     Part 1:           Calculate Your Current Monthly Income

      1. What is your marital and filing status? Check one only.
                  Not married. Fill out Column A, lines 2-11.
                  Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
                  Married and your spouse is NOT filing with you. You and your spouse are:
                     Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                     Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                     penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                     living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
        101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
        the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
        spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                           Column A                   Column B
                                                                                                           Debtor 1                   Debtor 2 or
                                                                                                                                      non-filing spouse
      2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
         payroll deductions).                                                               $                                         $
      3. Alimony and maintenance payments. Do not include payments from a spouse if
         Column B is filled in.                                                             $                                         $
      4. All amounts from any source which are regularly paid for household expenses
         of you or your dependents, including child support. Include regular contributions
         from an unmarried partner, members of your household, your dependents, parents,
         and roommates. Include regular contributions from a spouse only if Column B is not
         filled in. Do not include payments you listed on line 3.                           $                                         $
      5. Net income from operating a business, profession, or farm
                                                                           Debtor 1
            Gross receipts (before all deductions)                            $
            Ordinary and necessary operating expenses                        -$
            Net monthly income from a business, profession, or farm $                        Copy here -> $                           $
      6. Net income from rental and other real property
                                                                                         Debtor 1
            Gross receipts (before all deductions)                            $
            Ordinary and necessary operating expenses                        -$
            Net monthly income from rental or other real property            $               Copy here -> $                           $
                                                                                                           $                          $
      7. Interest, dividends, and royalties




    Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                     page 1
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     Debtor 1     Chadwick Bowman Wells
     Debtor 2     Audra Lee Wells                                                                           Case number (if known)



                                                                                                        Column A                     Column B
                                                                                                        Debtor 1                     Debtor 2 or
                                                                                                                                     non-filing spouse
      8. Unemployment compensation                                                           $                                       $
         Do not enter the amount if you contend that the amount received was a benefit under
         the Social Security Act. Instead, list it here:
            For you                                          $
                For your spouse                                          $
      9. Pension or retirement income. Do not include any amount received that was a
          benefit under the Social Security Act.                                                        $                            $
      10. Income from all other sources not listed above. Specify the source and amount.
          Do not include any benefits received under the Social Security Act or payments
          received as a victim of a war crime, a crime against humanity, or international or
          domestic terrorism. If necessary, list other sources on a separate page and put the
          total below.
                 .                                                                                      $                            $
                                                                                                        $                            $
                      Total amounts from separate pages, if any.                                    +   $                            $

      11. Calculate your total current monthly income. Add lines 2 through 10 for
          each column. Then add the total for Column A to the total for Column B.               $                        +   $                   =   $

                                                                                                                                                     Total current monthly
                                                                                                                                                     income

     Part 2:        Determine Whether the Means Test Applies to You

      12. Calculate your current monthly income for the year. Follow these steps:
           12a. Copy your total current monthly income from line 11                                               Copy line 11 here=>            $


                  Multiply by 12 (the number of months in a year)                                                                                        x 12
           12b. The result is your annual income for this part of the form                                                                 12b. $


      13. Calculate the median family income that applies to you. Follow these steps:
           Fill in the state in which you live.

           Fill in the number of people in your household.

           Fill in the median family income for your state and size of household.                                                          13.   $
           To find a list of applicable median income amounts, go online using the link specified in the separate instructions
           for this form. This list may also be available at the bankruptcy clerk’s office.
      14. How do the lines compare?
           14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                          Go to Part 3.
           14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                          Go to Part 3 and fill out Form 122A-2.
     Part 3:        Sign Below
                  By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

                 X /s/ Chadwick Bowman Wells                                              X /s/ Audra Lee Wells
                    Chadwick Bowman Wells                                                     Audra Lee Wells
                    Signature of Debtor 1                                                     Signature of Debtor 2
            Date April 22, 2019                                                        Date April 22, 2019
                 MM / DD / YYYY                                                             MM / DD / YYYY
                  If you checked line 14a, do NOT fill out or file Form 122A-2.
                  If you checked line 14b, fill out Form 122A-2 and file it with this form.




    Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                    page 2
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     Fill in this information to identify your case:

     Debtor 1            Chadwick Bowman Wells

     Debtor 2           Audra Lee Wells
     (Spouse, if filing)

     United States Bankruptcy Court for the:            Eastern District of California

     Case number                                                                                      Check if this is an amended filing
     (if known)



    Official Form 122A - 1Supp
    Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                     12/15

    File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
    exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
    exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 If you believe that this is
    required by 11 U.S.C. § 707(b)(2)(C).

     Part 1:         Identify the Kind of Debts You Have

      1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
         personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
         Individuals Filing for Bankruptcy (Official Form 1).

               No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
                   supplement with the signed Form 122A-1.
               Yes. Go to Part 2.


     Part 2:         Determine Whether Military Service Provisions Apply to You

      2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
               No. Go to line 3.
               Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                    10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                      No.    Go to line 3.
                      Yes.   Go to Form 122A-1: on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                             submit this supplement with the signed Form 122A-1.

      3. Are you or have you been a Reservist or member of the National Guard?
               No.     Complete Form 122A-1. Do not submit this supplement.
               Yes.    Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                      No.    Complete Form 122A-1. Do not submit this supplement.
                      Yes.   Check any one of the following categories that applies:
                                                                                                If you checked one of the categories to the left, go to Form
                             I was called to active duty after September 11, 2001, for at least 122A-1. On the top of page 1 of Form 122A-1, check box 3,
                             90 days and remain on active duty.                                 The Means Test does not apply now, and sign Part 3. Then
                                                                                                submit this supplement with the signed Form 122A-1. You
                             I was called to active duty after September 11, 2001, for at least are not required to fill out the rest of Official Form 122A-1
                             90 days and was released from active duty on                     , during the exclusion period. The exclusion period means
                             which is fewer than 540 days before I file this bankruptcy case.   the time you are on active duty or are performing a
                                                                                                homeland defense activity, and for 540 days afterward. 11
                             I am performing a homeland defense activity for at least 90 days. U.S.C. § 707(b)(2)(D)(ii).

                             I performed a homeland defense activity for at least 90 days,
                                                                                                   If your exclusion period ends before your case is closed,
                             ending on                  , which is fewer than 540 days before I
                                                                                                   you may have to file an amended form later.
                             file this bankruptcy case.




    Official Form 122A-1Supp                       Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                 page 1
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    Notice Required by 11 U.S.C. § 342(b) for
    Individuals Filing for Bankruptcy (Form 2010)


                                                                                              Chapter 7:         Liquidation
     This notice is for you if:
                                                                                                      $245      filing fee
            You are an individual filing for bankruptcy,
            and                                                                                        $75   administrative fee

            Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
            Consumer debts are defined in 11 U.S.C.
            § 101(8) as “incurred by an individual                                                    $335      total fee
            primarily for a personal, family, or
            household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                              difficulty preventing them from paying their debts
                                                                                              and who are willing to allow their nonexempt
     The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
     individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                              your debts discharged. The bankruptcy discharge
     Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
     one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                              for particular debts, and liens on property may still
            Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                              may have the right to foreclose a home mortgage or
            Chapter 11 - Reorganization                                                       repossess an automobile.

            Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                       for family farmers or                                                  certain kinds of improper conduct described in the
                       fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                              discharge.
            Chapter 13 - Voluntary repayment plan
                       for individuals with regular                                           You should know that even if you file chapter 7 and
                       income                                                                 you receive a discharge, some debts are not
                                                                                              discharged under the law. Therefore, you may still
                                                                                              be responsible to pay:
     You should have an attorney review your
     decision to file for bankruptcy and the choice of                                            most taxes;
     chapter.
                                                                                                  most student loans;

                                                                                                  domestic support and property settlement
                                                                                                  obligations;




    Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
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            most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
            restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                              results of the Means Test, the U.S. trustee, bankruptcy
            certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
            papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                              motion is filed, the court will decide if your case should
     You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                              proceed under another chapter of the Bankruptcy
            fraud or theft;                                                                   Code.

            fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
            fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                              subject to your right to exempt the property or a portion
            intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                              property, and the proceeds from property that your
            death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
            motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
            from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                              household items or to receive some of the proceeds if
     If your debts are primarily consumer debts, the court                                    the property is sold.
     can dismiss your chapter 7 case if it finds that you have
     enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
     You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
     Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
     individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
     form will determine your current monthly income and                                      proceeds to your creditors.
     compare whether your income is more than the median
     income that applies in your state.

     If your income is not above the median for your state,
     you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
     the Chapter 7 Means Test Calculation (Official Form
     122A–2).
                                                                                                          $1,167    filing fee
     If your income is above the median for your state, you
     must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
     Calculation (Official Form 122A–2). The calculations on
                                                                                                          $1,717    total fee
     the form— sometimes called the Means Test—deduct
     from your income living expenses and payments on
                                                                                              Chapter 11 is often used for reorganizing a business,
     certain debts to determine any amount available to pay
                                                                                              but is also available to individuals. The provisions of
     unsecured creditors. If
                                                                                              chapter 11 are too complicated to summarize briefly.




    Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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            Read These Important Warnings

                 Because bankruptcy can have serious long-term financial and legal consequences, including loss of
                 your property, you should hire an attorney and carefully consider all of your options before you file.
                 Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
                 and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
                 properly and protect you, your family, your home, and your possessions.

                 Although the law allows you to represent yourself in bankruptcy court, you should understand that
                 many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
                 or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
                 following all of the legal requirements.

                 You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
                 necessary documents.

                 Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
                 bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
                 fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
                 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                              Under chapter 13, you must file with the court a plan
     Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
                 farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                              the court approves your plan, the court will allow you
                                                                                              to repay your debts, as adjusted by the plan, within 3
                       $200       filing fee                                                  years or 5 years, depending on your income and other
     +                  $75       administrative fee                                          factors.
                       $275       total fee
                                                                                              After you make all the payments under your plan,
     Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
     and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
     using future earnings and to discharge some debts that                                   pay include:
     are not paid.
                                                                                                     domestic support obligations,

                                                                                                     most student loans,
     Chapter 13: Repayment plan for
                 individuals with regular                                                            certain taxes,
                 income
                                                                                                     debts for fraud or theft,

                       $235       filing fee                                                         debts for fraud or defalcation while acting in a
     +                  $75       administrative fee                                                 fiduciary capacity,
                       $310       total fee
                                                                                                     most criminal fines and restitution obligations,
     Chapter 13 is for individuals who have regular income
     and would like to pay all or part of their debts in                                             certain debts that are not listed in your
     installments over a period of time and to discharge                                             bankruptcy papers,
     some debts that are not paid. You are eligible for
     chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
     dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                     certain long-term secured debts.




    Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
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                                                                                              A married couple may file a bankruptcy case
                   Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                              each spouse lists the same mailing address on the
     Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
     you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
     creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
     general financial condition. The court may dismiss your                                  each spouse receive separate copies.
     bankruptcy case if you do not file this information within
     the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
     Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

     For more information about the documents and                                             The law generally requires that you receive a credit
     their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
     http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
     s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                              limited exceptions, you must receive it within the 180
                                                                                              days before you file your bankruptcy petition. This
     Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                              Internet.
            If you knowingly and fraudulently conceal assets
            or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
            of perjury—either orally or in writing—in                                         must complete a financial management instructional
            connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
            fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                              course.
            All information you supply in connection with a
            bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
            Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
            U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
            other offices and employees of the U.S.                                           .
            Department of Justice.
                                                                                              In Alabama and North Carolina, go to:
     Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                              BankruptcyResources/ApprovedCredit
     The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
     address you list on Voluntary Petition for Individuals
     Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
     that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
     Bankruptcy Rule 4002 requires that you notify the court                                  the list.
     of any changes in your address.




    Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4
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    B2030 (Form 2030) (12/15)
                                                                   United States Bankruptcy Court
                                                                         Eastern District of California
                 Chadwick Bowman Wells
     In re       Audra Lee Wells                                                                                  Case No.
                                                                                      Debtor(s)                   Chapter       7

                              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
    1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
           compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
           be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
                 For legal services, I have agreed to accept                                                  $                     2,500.00
                 Prior to the filing of this statement I have received                                        $                     2,500.00
                 Balance Due                                                                                  $                         0.00

    2.     $    335.00        of the filing fee has been paid.

    3.     The source of the compensation paid to me was:

                      Debtor                  Other (specify):

    4.     The source of compensation to be paid to me is:

                      Debtor                  Other (specify):

    5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

                I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
                copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

    6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

           a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
           b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
           c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
           d.   [Other provisions as needed]
                     Representation of the debtor in contested bankruptcy matters such as motions for relief from the automatic stay,
                     motions to avoid liens, objections to claims.

    7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
                   Representation of the debtors in any adversary proceeding.
                                                                               CERTIFICATION
           I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
     this bankruptcy proceeding.

         April 22, 2019                                                               /s/ Barry H. Spitzer
         Date                                                                         Barry H. Spitzer
                                                                                      Signature of Attorney
                                                                                      Law Office of Barry H. Spitzer
                                                                                      980 9th Street, Suite 380
                                                                                      Sacramento, CA 95814
                                                                                      916-442-9002 Fax: 916-442-9003
                                                                                      barry@spitzerlaw.com
                                                                                      Name of law firm




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                                ADP
                                4730 Myrtle Avenue, Suite A
                                Sacramento, CA 95841


                                ADP
                                80 Blue Ravine Road
                                Folsom, CA 95630


                                All in One Pest Control
                                730 Vernon Street
                                Roseville, CA 95678


                                Alsco
                                3391 Lanatt Street
                                Sacramento, CA 95819


                                Ameripride Linen
                                Turner Law Group
                                1104 Corporate Way
                                Sacramento, CA 95831


                                Ascentium Capital LLC
                                23970 Highway 59 North
                                Kingwood, TX 77339-1535


                                AT and T
                                Bankruptcy Department
                                4331 Communications Drive
                                Flr 4W
                                Dallas, TX 75211


                                Bank of America Corporate Account
                                100 North Tryon Street
                                Charlotte, NC 28255


                                Bay Area Credit Service LLC
                                4145 Shackleford Road, Suite 330B
                                Norcross, GA 30093


                                Berkshire Hathaway GUARD
                                P.O. Box 785570
                                Philadelphia, PA 19178-5570
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                                Berryessa Brewing
                                27260 CA-128
                                Winters, CA 95694


                                Best Buy
                                PO Box 790441
                                Saint Louis, MO 63179


                                Bowman Wells
                                501 Elefa Street
                                Roseville, CA 95678


                                CACH LLC
                                PO Box 1269
                                Greenville, SC 29603


                                California Department of Tax and Fee
                                Account Information Group MIC:29
                                PO Box 942879
                                Sacramento, CA 94279


                                Capital One
                                PO Box 30285
                                Salt Lake City, UT 84130-0285


                                Capitol Pacific
                                Quarry Ponds LLC
                                7110 Douglas Blvd.
                                Granite Bay, CA 95746


                                CIR Law Offices International
                                2650 Camino Del Rio North, Suite 308
                                San Diego, CA 92108


                                Cohen Durrett
                                2100 Northrop Avenue, Suite 900
                                Sacramento, CA 95825


                                Consolidated Communications
                                211 Lincoln Street
                                Roseville, CA 95678


                                Crooked Lane Brewing
                                536 Grass Valley Hwy
                                Auburn, CA 95603
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                                West Sacramento, CA 95691


                                DCR
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                                Sacramento, CA 95841


                                Deidra Wells
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                                Douglas B. Provencher, Esq.
                                Provencher and Flatt LLP
                                823 Sonoma Avenue
                                Santa Rosa, CA 95404


                                EnviroMasters Inc
                                2790 US-27
                                Carrollton, GA 30117


                                Fort Rock Brewing
                                12401 Folsom Blvd., Suite 110
                                Rancho Cordova, CA 95742


                                Franchise Tax Board
                                Bankruptcy Unit
                                P.O. Box 2952 - MS A-340
                                Sacramento, CA 95812-2952


                                Green Air Supply
                                216 Puyallup Avenue
                                Unit S-111
                                Tacoma, WA 98421


                                Hemar Rousso and Heald, LLP
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                                Encino, CA 91436
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                                Honda Financial Services
                                PO Box 1844
                                Alpharetta, GA 30023-1844


                                Honda Financial Services/Synergetic
                                1220 Old Alpharetta Road, Suite 350
                                Alpharetta, GA 30005


                                Internal Revenue Service
                                Centralized Insolvency Operations
                                PO Box 7346
                                Philadelphia, PA 19101-7346


                                Kohl's Department Store
                                PO Box 3043
                                Milwaukee, WI 53201-3043


                                Liberty Mutual Insurance
                                Cain and Weiner
                                1699 E. Woodfield Road, Suite 360
                                Schaumburg, IL 60173


                                Macy's
                                PO Box 8053
                                Mason, OH 45040


                                Magnolia/CBNA
                                PO Box 6497
                                Sioux Falls, SD 57117


                                Markstein Beverage
                                Northern California Collection Service
                                700 Leisure Lane
                                Sacramento, CA 95815


                                Mr. Cooper
                                PO Box 619098
                                Dallas, TX 75261-9741


                                Mussetter Distributors
                                12979 Earhart Avenue
                                Auburn, CA 95602
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                                NCB, FSB
                                139 South High Street
                                Hillsboro, OH 45133


                                On Deck
                                1400 Broadway
                                New York, NY 10018


                                Pacific Gas and Electric
                                Bankruptcy Unit
                                PO Box 8329
                                Stockton, CA 95208


                                Pacific Seafood
                                Cash Flow Management
                                PO Box 42407
                                5530 S.E. Center Street
                                Portland, OR 97242


                                Paul Black
                                PO Box 1482
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                                Produce Express
                                8340 Belvedere Avenue
                                Sacramento, CA 95826


                                Radius Global Solutions LLC
                                PO Box 390905
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                                Minneapolis, MN 55439


                                Rapid Advance
                                4500 East West Highway, 6th Floor
                                Bethesda, MD 20814


                                Richard Azevedo
                                Michael and Maxine Short
                                11899 Edgewood Road, Suite B
                                Auburn, CA 95603


                                Saccani Distributiing
                                2600 5th Street
                                Sacramento, CA 95818
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                                Sacramento, CA 95852-6001


                                Seatninja
                                600 Gianni Court
                                Roseville, CA 95661


                                Sound Pro's
                                PO Box 323
                                Loomis, CA 95650-0323


                                Southern Wine and Spirits
                                1301 N. Market Blvd.
                                Sacramento, CA 95834


                                Synchrony Bank
                                Attn: Bankruptcy Dept.
                                PO Box 965060
                                Orlando, FL 32896-5060


                                TD Auto Finance
                                PO Box 9223
                                Farmington Hills, MI 48333-9223


                                Terriell Outsource Group
                                9381 E. Stockton Blvd., #116
                                Elk Grove, CA 95624


                                US Foods
                                AGA
                                740 Walt Whitman Road
                                Melville, NY 11747


                                US Small Business Administration
                                Legal Division District Office
                                6501 Sylvan Rd Ste 100
                                Citrus Heights, CA 95610


                                VanWells, Inc.
                                501 Elefa Street
                                Roseville, CA 95678
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